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                                     THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Peer Street, Inc., et al.,1                                    Case No. 23-10815 (___)

                                                 Debtors.                   (Joint Administration Requested)


                      DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
                       (A) AUTHORIZING THE DEBTORS’ USE OF CASH COLLATERAL;
                       (B) GRANTING ADEQUATE PROTECTION TO THE PREPETITION
                           SECURED PARTIES; (C) SCHEDULING A FINAL HEARING;
                                  AND (D) GRANTING RELATED RELIEF

                             The above-captioned debtors and debtors in possession (collectively,

         the “Debtors”) hereby submit this motion (this “Motion”) for the entry of an interim order,

         substantially in the form attached hereto as Exhibit A (the “Proposed Interim Order”) and

         Exhibit B (the “Proposed Final Order,” and together with the Proposed Interim

         Order, the “Proposed Orders”), pursuant to sections 105, 361, 362, 363, 506(c), and 507 of title

         11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules

         2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the

         “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of Bankruptcy Practice and

         Procedure of the United              States Bankruptcy Court for the District of Delaware (the

         “Local Rules”), (a) authorizing Debtors Peer Street, Inc. (“PSI”), PS Funding, Inc.

         (“PSFI”), and PeerStreet Licensing, Inc. (“PSLI,” and collectively with PSI and PSFI, the

         “Prepetition Borrowers”) to use Cash Collateral (as defined
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               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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         below) and Prepetition Collateral (as defined in the Proposed Interim Order) subject to the terms

         and conditions set forth in the Proposed Orders, (b) granting adequate protection to the Prepetition

         Secured Lenders (as defined below) in the form and manner provided for in the Proposed Orders,

         (c) scheduling a final hearing on this Motion (the “Final Hearing”), and (d) granting related relief.

         In support of this Motion, the Debtors rely upon and incorporate by reference the Declaration of

         David M. Dunn in Support of Chapter 11 Petitions and First Day Pleadings (the “First Day

         Declaration”),2 filed contemporaneously herewith. In further support of this Motion, the Debtors

         respectfully state as follows:

                                                        JURISDICTION

                          1.       The United States Bankruptcy Court for the District of Delaware

         (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated as of February 29, 2012 (the “Amended Standing Order”). This is a core

         proceeding pursuant to 28 U.S.C. § 157(b)(2), and the Court may enter a final order consistent

         with Article III of the United States Constitution. Venue is proper in the Court pursuant to

         28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for the relief sought herein are

         sections 105, 361, 362, 363, 506(c), and 507 of the Bankruptcy Code, Bankruptcy Rules 2002,

         4001, 6004, and 9014, and Local Rule 4001-2.

                                                        BACKGROUND

                          2.       Today (the “Petition Date”), each of the Debtors commenced a voluntary

         case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their


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             Capitalized terms, including those in the Summary of Material Terms chart below, used but not otherwise defined
             herein shall have the meanings ascribed to them in the Proposed Orders. To the extent there are any discrepancies
             between the Proposed Interim Order and Proposed Final Order, the Proposed Final Order, as approved by the
             Court, will control.
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         business and manage their properties as debtors in possession pursuant to sections 1107(a) and

         1108 of the Bankruptcy Code. No official committees have been appointed in these chapter 11

         cases and no request has been made for the appointment of a trustee or an examiner.

                        3.        Additional information regarding the Debtors’ business, their capital

         structure, and the circumstances leading to the filing of these chapter 11 cases is set forth in the

         First Day Declaration.

                              PREPETITION SECURED DEBT OBLIGATIONS

                        4.        The Magnetar Credit Agreement. PSI is party to a Credit Agreement dated

         October 12, 2021 (as may be amended, restated, supplemented, or otherwise modified from time

         to time prior to the Petition Date, the “Prepetition Credit Agreement”), by and among PSI, as

         borrower and the other Prepetition Borrowers as guarantors, on the one hand, and Magnetar

         Financial LLC as the Paying Agent (the “Agent”), and certain of Magnetar’s affiliates and

         managed funds party thereto, as lenders (the “Prepetition Lenders,” and together with the Agent,

         the “Prepetition Secured Parties”), on the other. The Prepetition Credit Agreement provides for

         convertible secured term loans in an aggregate principal amount not to exceed $30 million dollars.

         The loans provided under the Prepetition Credit Agreement are secured by a lien on substantially

         all of the Prepetition Borrowers’ assets, including all cash held at PSI, but expressly excluding,

         among other things, any asset of a Prepetition Borrower encumbered by a lien securing a permitted

         debt facility or otherwise pledged to third-party investors in accordance with the Prepetition

         Borrower’s ordinary course of business (the “Prepetition Collateral”). For the avoidance of

         doubt, broadly speaking, the Prepetition Collateral does not include the mortgage loans held by

         Debtor PSFI.




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                        5.      As of the Petition Date, the Prepetition Borrowers were indebted and liable,

         to the Prepetition Secured Parties under the Prepetition Financing Documents, for (a) an aggregate

         amount, including secured PIK interest at a rate of 6%, of $27,239,166.74 and (b) accrued and

         unpaid interest, fees (including, without limitation, Agency Fees (as defined herein)), and costs,

         expenses (including any attorneys’ and financial advisors’ fees), charges, indemnities, and all other

         obligations incurred or accrued with respect to the foregoing pursuant to, and in accordance with,

         the Prepetition Financing Documents (collectively, the “Prepetition Secured Obligations”).

                                              RELIEF REQUESTED

                        6.      By this Motion, the Debtors request that the Court enter the Proposed Orders

         (a) authorizing the Prepetition Borrowers’ consensual use of Cash Collateral and Prepetition

         Collateral, subject to the terms and conditions set forth in the Proposed Orders; (b) granting

         adequate protection to Prepetition Secured Parties in the form and manner provided for in the

         Proposed Orders; (c) scheduling a Final Hearing; and (d) granting related relief.

                        7.      Bankruptcy Rule 4001(d) provides that the Court may fix the time within

         which objections to the approval of an agreement relating to cash collateral and adequate protection

         pursuant to section 363 of the Bankruptcy Code must be filed. In addition, the Court is empowered

         to conduct an expedited preliminary hearing on the motion and authorize the use of cash collateral

         to the extent necessary to avoid immediate and irreparable harm to the debtor’s estate.

                 THE PREPETITION BORROWERS’ IMMEDIATE NEED TO USE CASH

                                                  COLLATERAL

                        8.      It is essential to the Debtors’ efforts to preserve and maximize the value of

         their assets that the Prepetition Borrowers obtain the authority to use the cash derived from

         operating the business (the “Cash Collateral”). To that end, the Prepetition Borrowers and the


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         Prepetition Secured Parties have reached an agreement on the consensual use of Cash Collateral

         and Prepetition Collateral to fund expenses identified in the budget attached as Exhibit A to the

         Proposed Interim Order (the “Initial Budget,” and as may be amended, extended, and approved

         from time to time as set forth in the Proposed Interim Order, the “Budget”). Such expenses

         include, but are not limited to, employee payroll and other benefits, and other expenses related to

         the Prepetition Borrowers’ business operations. The Budget was prepared by the Debtors, with

         the assistance of their professionals, and shows the Prepetition Borrowers’ projected expenditures

         during the period from the Petition Date through and including the succeeding thirteen (13) weeks,

         and estimates the period in which such cash expenditures will need to be paid.

                        9.     Additionally, the Budget incorporates an allocation model pursuant to

         which each of the Debtors’ expenses and costs are allocated to the specific Debtor. The use of cash

         collateral requested herein is limited to the three (3) Prepetition Borrowers who will use cash

         collateral up to the amounts allocated to them. As described more fully in the Debtors’ Motion for

         Interim and Final Orders, Pursuant to Sections 105(a), 345, 363, 503(b), 1107(a) and 1108 of the

         Bankruptcy Code, Bankruptcy Rule 2015, and Local Rule 2015-2, (A) Authorizing and Approving

         Continued Use of Cash Management System, (B) Authorizing Use of Prepetition Bank Accounts

         and Business Forms, (C) Authorizing Continued Performance of Intercompany Transactions in

         the Ordinary Course of Business and Granting Administrative Expense Status for Postpetition

         Intercompany Claims, (D) Waiving the Requirements of Section 345(b) on an Interim Basis, and

         (E) Granting Certain Related Relief filed contemporaneously herewith, the other Debtors will be

         funding their allocated case costs through the use of unencumbered cash. The Prepetition

         Borrowers believe that the use of Cash Collateral and Prepetition Collateral will be sufficient to




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         fund their operations and the costs of these chapter 11 cases without the need for debtor-in-

         possession financing.

                            10.   The reasons supporting the Prepetition Borrowers’ need to use Cash

         Collateral and Prepetition Collateral during the course of these chapter 11 cases are compelling.

         The use of Cash Collateral and Prepetition Collateral is required to fund the day-to-day operating

         expenses, including payments to employees and otherwise sustaining the going concern value of

         the Debtors’ business. Unless the Court authorizes the consensual use of the Cash Collateral and

         Prepetition Collateral, the Prepetition Borrowers will be unable to pay for services and expenses

         necessary to preserve and maximize the value of the Debtors’ assets. Indeed, absent sufficient

         funds to support the Debtors’ business operations, the value of the Debtors’ assets will quickly

         erode. Therefore, authorization to use Cash Collateral and Prepetition Collateral pending the Final

         Hearing is in the best interests of the Debtors’ estates and creditors.

                BANKRUPTCY RULE 4001 AND LOCAL RULE 4001–2 CONCISE STATEMENT

                            11.   The Prepetition Borrowers and the Prepetition Secured Parties have reached

         a consensual agreement with respect to the Prepetition Borrowers’ use of Cash Collateral and

         Prepetition Collateral upon the terms and conditions set forth in the Proposed Interim Order and

         summarized below. Pursuant to Bankruptcy Rules 4001(b)(1) and (d)(1) and Local Rule 4001-

         2(a), the Debtors submit the following concise statement of the material terms of the Proposed

         Interim Order:

                                          SUMMARY OF MATERIAL TERMS
             Entities with an       Magnetar Structuring Credit Fund, L.P., Magnetar           Proposed Interim
             Interest in Cash       Longhorn Fund, LP, Purpose Alternative Credit Fund – F     Order, Prmbl.
             Collateral             LLC, Purpose Alternative Credit Fund – T LLC and
                                    Magnetar Lake Credit Fund, LLC (such financial
             Bankruptcy Rule
                                    institutions in such capacities, the “Prepetition
             4001(b)(1)(B)(i)
                                    Lenders”), and Magnetar Financial LLC, as agent (in such


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                                         SUMMARY OF MATERIAL TERMS
                                   capacity, the “Agent,” and together with the Prepetition
                                   Lenders, the “Prepetition Secured Parties”)

             Purposes for Use of   The Prepetition Borrowers have an immediate and critical      Proposed Interim
             Cash Collateral       need to use Cash Collateral to, among other things, pay the   Order at ¶ D.
                                   costs and expenses associated with administering the
             Bankruptcy Rule
                                   Chapter 11 Cases of the Prepetition Borrowers, continue
             4001(b)(1)(B)(ii)
                                   the orderly operation of their business, maximize and
                                   preserve their going concern value, make payroll and
                                   satisfy other working capital and general corporate
                                   purposes, in each case, in accordance with the Budget.
                                   Without access to the continued use of Cash Collateral to
                                   the extent authorized pursuant to the Proposed Interim
                                   Order, the Prepetition Borrowers and their estates would
                                   suffer immediate and irreparable harm. The Prepetition
                                   Borrowers do not have sufficient available sources of
                                   working capital and financing to operate their businesses
                                   or maintain their properties in the ordinary course of
                                   business without the authorized use of Cash Collateral.
                                   The Prepetition Borrowers require the continued use of
                                   Cash Collateral under the terms of the Interim Order to
                                   satisfy their postpetition liquidity needs.




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                                            SUMMARY OF MATERIAL TERMS
             Budget                   The use of proceeds of the Prepetition Collateral (including   Proposed Interim
                                      Cash Collateral), is subject to a 13-week operating budget     Order at ¶ 3(a)
             Bankruptcy Rule
                                      for the Prepetition Borrowers setting forth the projected
             4001(b)(1)(B)(ii)
                                      financial operations of the Debtors, substantially in the
             Local Rule               form of the initial budget annexed to the Proposed Interim
             4001-2(a)(i)(E)          Order as Exhibit A (the “Initial Budget,” and as may be
                                      amended and extended from time to time as set forth
                                      herein, the “Budget”) subject to the following permitted
                                      variances (collectively, the “Permitted Variances”):
                                      unless waived in writing by the Agent (i) an unfavorable
                                      variance of no more than 20% with respect to cumulative
                                      cash receipts on a rolling four (4)-week basis, tested
                                      weekly based upon the prior Budget, provided that, in the
                                      event any cash receipts budgeted to be received in a
                                      cumulative period are not actually received during such
                                      period, such cash receipts shall be deemed, for purposes of
                                      testing, to have been received during such period if
                                      received within one (1)-calendar week after the end of such
                                      period, and (ii) an unfavorable variance of no more than
                                      20% with respect to cumulative cash disbursements (other
                                      than restructuring professional fees and payments to the
                                      U.S. Trustee set forth in the Budget), tested weekly based
                                      upon the prior Budget, provided that, in any four (4)-week
                                      period that cumulative cash disbursements (other than
                                      restructuring professional fees and payments to the U.S.
                                      Trustee set forth in the Budget) are less than the budgeted
                                      amount for such period, the amount by which cumulative
                                      cash disbursements (other than restructuring professional
                                      fees and payments to the U.S. Trustee set forth in the
                                      Budget) are less may be carried forward and added to the
                                      subsequent period.




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                                         SUMMARY OF MATERIAL TERMS
             Duration of Use of    Notwithstanding anything in the Interim Order to the           Proposed Interim
             Cash Collateral/      contrary, the Prepetition Borrowers shall be permitted to      Order at ¶ 13, 14
             Termination Events/   use the Cash Collateral pursuant to the Interim Order
             Relief from Stay      through the date that is the earliest of: (a) an Event of
                                   Default following the applicable EOD Notice Period, if
             Bankruptcy Rule
                                   any; or (b) ninety (90) days after the date of consummation
             4001(b)(1)(B)(iii)
                                   of a sale of substantially all of the Prepetition Borrowers’
             Local Rule            assets; or (c) twenty-five (25) days following the
             4001-2(a)(i)(M)       occurrence of the effective date of any confirmed plan of
                                   reorganization or liquidation in the Chapter 11 Cases of the
                                   Prepetition Borrowers (the “Termination Date”).


                                   Events of Default. The Prepetition Borrowers’ right, and
                                   the right of any other representative of the estates, to use
                                   Cash Collateral under this Interim Order shall terminate
                                   (other than in respect of the Carve-Out), (i) following ten
                                   (10) business days’ notice (the “EOD Notice Period”)
                                   from the Prepetition Secured Parties of (a) the
                                   Debtors’ failure to meet or satisfy any Milestone (as
                                   defined herein), unless extended by agreement of the
                                   Prepetition Secured Parties or order of this Court, or (b) a
                                   final determination by this Court that a material violation
                                   or breach (other than by the Prepetition Secured Parties),
                                   of any of the provisions of this Interim Order has occurred;
                                   or (ii) automatically without further notice or court
                                   proceeding following that the occurrence of one or more of
                                   the following: (a) the appointment of a chapter 11 trustee
                                   or of an examiner with expanded powers in the Chapter 11
                                   Case (having powers beyond those set forth in sections
                                   1106(a)(3) and (4) of the Bankruptcy Code); (b) the
                                   conversion of the Chapter 11 Cases of the Prepetition
                                   Borrowers to cases under chapter 7 of the Bankruptcy
                                   Code; (c) the dismissal of the Chapter 11 Cases of the
                                   Prepetition Borrowers; (d) filing of a motion, application
                                   or other pleading to obtain postpetition financing that has
                                   not been consented to by the Prepetition Secured Parties;
                                   (e) entry of an order or a judgment by this Court or any
                                   other court staying, reversing, vacating, amending,
                                   rescinding or otherwise modifying any of the terms of this
                                   Interim Order, or filing of a motion, application or other
                                   pleading by the Prepetition Borrowers seeking such entry,
                                   in each case without the consent of the Prepetition Secured
                                   Parties (each of the items in 13(i) and (ii), an “Event of
                                   Default,” collectively, the “Events of Default”).
             Carve-Out             Generally. The Prepetition Secured Liens, the Adequate         Proposed Interim
                                   Protection Liens, and the Section 507(b) Claims (as            Order at ¶ 6.
             Bankruptcy Rule
                                   defined in the Interim Order) of the Prepetition Secured
             4001(b)(1)(B)(iii)
                                   Parties, shall be subject to the payment in full, without
             Local Rule            duplication, of the following fees and expenses (the

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                                           SUMMARY OF MATERIAL TERMS
             4001-2(a)(i)(F)       amounts set forth below, together with the limitations set
                                   forth therein, as well as any funds in the Professional Fee
                                   Reserve (as defined in the Interim Order), collectively, the
                                   “Carve-Out”) from, at the Prepetition Borrowers’
                                   discretion, the Cash Collateral or proceeds resulting from
                                   liquidation of Prepetition Collateral or Postpetition
                                   Collateral:
                                      i.    the fee and expense claims of the respective
                                            retained professionals of the Prepetition
                                            Borrowers and the Committee, if any, as to
                                            matters pertinent to the Prepetition Borrowers,
                                            that have been approved by this Court at any time
                                            during the Chapter 11 Cases pursuant to sections
                                            330 and 331 of the Bankruptcy Code including
                                            any interim approval as set forth in any procedures
                                            approved by this Court relating to the interim
                                            approval of fees and expenses of the Retained
                                            Professionals (this Court approved professionals
                                            of the Prepetition Borrowers and any Committee
                                            are collectively referred to as the “Retained
                                            Professionals”), the reasonable expenses of
                                            members of the Committee, if any (the
                                            “Committee Member Expenses,” which shall
                                            not include legal fees and expenses of Committee
                                            members) which were incurred in connection with
                                            matters pertinent to the Prepetition Borrowers (A)
                                            on and after the Petition Date and before the
                                            Carve-Out Trigger Date (defined below),
                                            provided that the Carve-Out shall be reduced
                                            dollar-for-dollar by any payments of fees and
                                            expenses to the applicable Retained Professional,
                                            and (B) on and after the Carve-Out Trigger Date
                                            in an aggregate amount not exceeding
                                            $200,000.00 for all Retained Professionals, to the
                                            extent allowed at any time, whether by final order,
                                            interim order, procedural order, or otherwise. On
                                            the last business day of each week, the Prepetition
                                            Borrowers shall fund a professional fee reserve
                                            (the “Professional Fee Reserve”) in an amount
                                            equal to the professional fees for the Retained
                                            Professionals as set forth in the Budget for the
                                            week then ended that relates solely to the
                                            Prepetition Borrowers.        All funds in the
                                            Professional Fee Reserve shall be used first to pay
                                            the Carve-Out (whether such fees are allowed on
                                            an interim or final basis) for allowed fees and
                                            expenses of the Retained Professionals, and all
                                            Retained Professionals shall have all professional
                                            fees and expenses paid from the Professional Fee
                                            Reserve prior to seeking payment from any other

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                                                 SUMMARY OF MATERIAL TERMS
                                                  Cash Collateral. If, after payment in full of the
                                                  Carve-Out for allowed fees and expenses of the
                                                  Retained Professionals, the Professional Fee
                                                  Reserve has not been reduced to zero, all
                                                  remaining funds shall be returned to the Agent on
                                                  behalf of the Prepetition Secured Parties;
                                           ii.    the unpaid fees payable to the U.S. Trustee and
                                                  Clerk of the Bankruptcy Court pursuant to section
                                                  1930 of Title 28 of the United States Code plus
                                                  statutory interest, if any, imposed under 31 U.S.C.
                                                  § 3717 that relate to the Prepetition Borrowers.
                                                  There is no limitation on the obligations of the
                                                  Prepetition Borrowers and their estates with
                                                  respect to unpaid fees payable to the U.S. Trustee
                                                  and Clerk of the Bankruptcy Court pursuant to
                                                  section 1930 of Title 28 of the United States Code.
                                          iii.    Carve-Out Trigger Date. As used herein, the term
                                                  “Carve-Out Trigger Date” means the date on
                                                  which the Prepetition Secured Parties provide
                                                  written notice to the Prepetition Borrowers, the
                                                  U.S. Trustee, and counsel to the Committee, if
                                                  any, that the Carve-Out is invoked, which notice
                                                  may be delivered only on or after the expiration of
                                                  the EOD Notice Period (as defined herein) under
                                                  the Interim Order or upon the Termination Date.
             Proposed Adequate          As adequate protection against, and limited to the extent       Proposed Interim
             Protection                 of, any diminution in value of the Prepetition Collateral,      Order at ¶ 11.
                                        the Prepetition Lender and Agent are granted the following
             Bankruptcy Rule
                                        under the Proposed Interim Order
             4001(b)(1)(B)(iv)
                                        Prepetition Secured Party Adequate Protection Liens. As
             Local Rules
                                        adequate protection for the Prepetition Secured Parties for
             4001-2(a)(i)(F)
                                        the Prepetition Secured Liens, the Agent, in accordance
             4001-2(a)(i)(G)
                                        with sections 361 and 363(e) of the Bankruptcy Code, is
             4001-2(a)(i)(J)
                                        granted, for the benefit of the Prepetition Secured Parties,
             4001-2(a)(i)(K)
                                        additional and replacement valid, binding, enforceable,
             4001-2(a)(i)(N)
                                        non-avoidable, and perfected postpetition security interests
             4001-2(a)(i)(P)
                                        and liens (the “Adequate Protection Liens”) upon any
             4001-2(a)(i)(U)
                                        and all repaid Servicing Advances (as defined in the
                                        Prepetition     Credit    Agreement)3(collectively,      the
                                        “Postpetition Collateral”), in each case to secure the
                                        Prepetition Secured Obligations against, without
                                        duplication, the aggregate Diminution in Value, if any,
                                        subsequent to the Petition Date, in the value of the

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                “Servicing Advances” are defined in the Prepetition Credit Agreement as “the right of any [of the Prepetition
                Borrowers] to payment, reimbursement or indemnity in respect of any advances made or funded by such
                [Prepetition Borrower] in respect of Mortgage Loans with respect to which such [Prepetition Borrower] owns the
                Servicing Rights, whether such advances are made for out of pocket expenses incurred by a servicer, taxes,
                delinquent payments of principal or interest or other purposes.”
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                           SUMMARY OF MATERIAL TERMS
                     Prepetition Collateral. The Adequate Protection Liens are
                     subject and subordinate only to (A) the Carve-Out and (B)
                     the Permitted Prior Liens. The Adequate Protection Liens
                     shall not (x) be subject to any lien or security interest that
                     is avoided and preserved for the benefit of the Prepetition
                     Borrowers’ estates under section 551 of the Bankruptcy
                     Code, (y) subject to any inter-company claim, whether
                     secured or unsecured, of any Prepetition Borrower or any
                     domestic or foreign subsidiary or affiliate of any
                     Prepetition Borrower, or (z) hereafter be subordinated to or
                     made pari passu with any other lien or security interest
                     under sections 361 or 363 of the Bankruptcy Code or
                     otherwise except as expressly provided in the Proposed
                     Interim Order, including, without limitation, with respect
                     to the Carve-Out and Permitted Prior Liens. The Adequate
                     Protection Liens shall be enforceable against and binding
                     upon the Prepetition Borrowers, their estates, and any
                     successors thereto, including, without limitation, any
                     trustee or other estate representative appointed in the
                     Chapter 11 Cases of the Prepetition Borrowers, or any
                     successor cases.
                     Section 507(b) Claims. Notwithstanding the provision of
                     Adequate Protection under the Proposed Interim Order, the
                     Prepetition Secured Parties and the Agent, for the benefit
                     of the Prepetition Secured Parties, are each granted an
                     allowed administrative expense claim pursuant to section
                     507(b) of the Bankruptcy Code (each, a “Section 507(b)
                     Claim”) with super-priority over all other administrative
                     expenses and all other claims against the Prepetition
                     Borrowers or their estates or any kind or nature
                     whatsoever, but in all cases subject and subordinate to the
                     Carve-Out and the Permitted Prior Liens. The Section
                     507(b) Claims shall be against each Prepetition Borrower
                     on a joint and several basis, and shall be payable from and
                     have recourse to all Prepetition Collateral.
                     Adequate Protection Payments.            The Prepetition
                     Borrowers shall pay in cash (i) upon entry of the Proposed
                     Interim Order, the reasonable and documented fees and
                     expenses of the attorneys and advisors of the Agent (the
                     “Agent Advisors”) arising under the Prepetition Financing
                     Documents prior to the Petition Date and (ii) the
                     reasonable and documented fees and expenses of the Agent
                     Advisors arising under the Prepetition Financing
                     Documents subsequent to the Petition Date, in all instances
                     subject to the amounts allocated therefor in the Budget
                     (payments under clauses (i) and (ii), collectively, the
                     “Adequate Protection Payments”). The Agent Advisors
                     shall not be required to file an application seeking
                     compensation for services or reimbursement of expenses
                     with this Court.        The Agent Advisors seeking
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                                          SUMMARY OF MATERIAL TERMS
                                    compensation for services or reimbursement of expenses
                                    under the Prepetition Financing Documents, the Proposed
                                    Interim Order or the Final Order shall transmit every two
                                    (2) weeks a reasonably detailed invoice (which shall
                                    include the total number of hours billed by attorney or
                                    other professional but shall not be required to comply with
                                    any particular format, and may be in summary form only)
                                    to counsel to the Prepetition Borrowers, the U.S. Trustee,
                                    and the Committee, if any; provided that any such invoice
                                    may be reasonably redacted to protect from disclosure any
                                    confidential information or information otherwise subject
                                    to a protective privilege such as attorney-client privilege or
                                    attorney work-product privilege.           The Prepetition
                                    Borrowers, U.S. Trustee, and the Committee, if any, shall
                                    have ten (10) days in which to raise an objection to the
                                    payment of any fees and expenses of such Agent Advisors.
                                    Upon the expiration of such ten (10) day period, the
                                    Prepetition Borrowers may pay any portion of such fees
                                    and expenses to which no objection has been interposed.
                                    To the extent any objection has been interposed and cannot
                                    be consensually resolved, the dispute will be scheduled for
                                    adjudication at the next regularly-scheduled omnibus
                                    hearing in the Chapter 11 Cases. Any and all amounts paid
                                    by the Prepetition Borrowers under Paragraph of the
                                    Proposed Interim Order are deemed permitted uses of Cash
                                    Collateral thereunder.
                                    Agency Fees. The Agent shall receive from the Prepetition
                                    Borrowers current cash payments of all reasonable and
                                    documented prepetition and postpetition fees, including
                                    agency fees and administrative fees, and out-of-pocket
                                    expenses incurred by and payable to the Agent under the
                                    Prepetition Financing Documents (the “Agency Fees”) as
                                    disclosed in the Budget.
             Modification of Stay   Modification of Automatic Stay. The automatic stay under         Proposed Interim
                                    section 362(a) of the Bankruptcy Code is modified as             Order at ¶ 12.
             Bankruptcy Rule
                                    necessary to effectuate all of the terms and provisions of
             4001(d)(1)(iii)
                                    the Proposed Interim Order, including, without limitation,
                                    to: (a) permit the Prepetition Borrowers to grant Adequate
                                    Protection as set forth herein; (b) permit the Prepetition
                                    Borrowers to perform such acts as reasonably requested by
                                    the Prepetition Secured Parties to assure the perfection and
                                    priority of the Adequate Protection Liens granted by the
                                    Proposed Interim Order; and (c) authorize the Prepetition
                                    Borrowers to make, and the Agent to retain and apply,
                                    payments in accordance with the terms of the Proposed
                                    Interim Order.
             Milestones             As a condition to the use of Cash Collateral, the Prepetition    Proposed Interim
                                    Borrowers shall comply with the milestones attached              Order at ¶ 16; Ex. B.
             Local Rule
                                    hereto as Exhibit B (the “Milestones”). For the avoidance

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             4001-2(a)(i)(H)        of doubt, the failure of the Debtors to comply with any of
                                    the Milestones (a) shall constitute an Event of Default
                                    under the Interim Order, (b) subject to the expiration of the
                                    Remedies Notice Period, result in the automatic
                                    termination of the Debtors’ authority to use Cash Collateral
                                    under the Interim Order, and (c) permit the Prepetition
                                    Secured Parties, subject to the terms of the Interim Order,
                                    to exercise the rights and remedies provided for in the
                                    Interim Order.
                                             (i)     On the Petition Date, the Debtors shall
                                    have filed a motion seeking approval of the Debtors’ use
                                    of Cash Collateral.

                                            (ii)     Within three (3) days of the Petition
                                    Date, the Debtors shall have filed a motion (the “Bid
                                    Procedures Motion”) with the Bankruptcy Court to
                                    approve bid procedures to determine a winning bidder
                                    or bidders for the Debtors’ mortgage assets.

                                            (iii)   Within three (3) days after the Petition
                                    Date, the Interim Order authorizing and approving the
                                    use of Cash Collateral and the transactions contemplated
                                    thereby on an interim basis, shall have been entered by
                                    the Bankruptcy Court.

                                             (iv)    On or before thirty (30) days following
                                    the Petition Date, or the first business day thereafter that
                                    the Bankruptcy Court is available, an order approving
                                    the Bid Procedures Motion (the “Bid Procedures
                                    Order”) shall have been entered by the Bankruptcy
                                    Court.

                                             (v)     On or before thirty (30) days following
                                    the Petition Date, or the first business day thereafter that
                                    the Bankruptcy Court is available, the Final Order
                                    authorizing and approving the use of Cash Collateral
                                    and the transactions contemplated thereby on a final
                                    basis shall have been entered by the Bankruptcy Court.


             Limitation on Use of   Limitation on Use of Proceeds. Notwithstanding anything         Proposed Interim
             Proceeds               in the Proposed Interim Order to the contrary, no portion       Order at ¶ 10.
                                    or proceeds of the Prepetition Collateral, the Cash
             Local Rule
                                    Collateral, or the Carve-Out, and no disbursements set
             4001-2(a)(i)(L)
                                    forth in the Budget shall be used for the payment of
                                    professional fees, disbursements, costs, or expenses
                                    incurred in connection with: (a) objecting, contesting or
                                    raising any defense to the validity, perfection, priority, or
                                    enforceability of, or any amount due under, the Prepetition
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                                    Financing Documents or any security interests, liens or
                                    claims granted under the Proposed Interim Order or the
                                    Prepetition Financing Documents to secure such amounts;
                                    (b) asserting any Challenges, claims, actions, or causes of
                                    action, including any Avoidance Actions, against any of
                                    the Prepetition Secured Parties or any of their respective
                                    agents, affiliates, subsidiaries, directors, officers,
                                    representatives, attorneys, or advisors; or (c) contesting the
                                    Prepetition Lien and Claim Matters; provided that no more
                                    than $25,000 in the aggregate of the proceeds of the
                                    Postpetition Collateral, Prepetition Collateral, the Cash
                                    Collateral, and the Carve-Out may be used by the
                                    Committee, if any, solely to investigate (but not prosecute
                                    or Challenge) Prepetition Lien and Claim Matters
             Stipulations           Prepetition Secured Obligations. As of the Petition Date,         Proposed Interim
                                    the Prepetition Borrowers were indebted and liable, to the        Order at ¶ C.
             Local Rule
                                    Prepetition Secured Parties under the Prepetition
             4001-2(a)(i)(Q)
                                    Financing Documents, for (a) an aggregate amount,
                                    including secured PIK interest at a rate of 6%, of
                                    $27,239,166.74 and (b) accrued and unpaid interest, fees
                                    (including, without limitation, Agency Fees (as defined
                                    herein)), and costs, expenses (including any attorneys’ and
                                    financial advisors’ fees), charges, indemnities, and all
                                    other obligations incurred or accrued with respect to the
                                    foregoing pursuant to, and in accordance with, the
                                    Prepetition Financing Documents (collectively, the
                                    “Prepetition Secured Obligations.”)
                                    Liens and Collateral. Each Prepetition Borrower granted
                                    to the Agent, for the benefit of the Prepetition Secured
                                    Parties, to secure the Prepetition Secured Obligations,
                                    Prepetition Secured Liens on the Collateral (as defined in
                                    the Prepetition Credit Agreement), including assets of the
                                    Prepetition Borrowers as more fully described in the
                                    Prepetition Financing Documents, including all of the
                                    Prepetition Borrowers’ right, title, and interest in the
                                    Collateral (such collateral, collectively, the “Prepetition
                                    Collateral”), and, as of the Petition Date, such Prepetition
                                    Secured Liens were senior in priority over any and all other
                                    liens on the Prepetition Collateral, subject only to liens
                                    senior by operation of law or otherwise permitted by the
                                    Prepetition Financing Documents (solely to the extent any
                                    such permitted liens were valid, properly perfected, non-
                                    avoidable, and senior in priority to the Prepetition Secured
                                    Liens as of the Petition Date, or valid, non-avoidable,
                                    senior priority liens in existence as of the Petition Date that
                                    are perfected after the Petition Date as permitted by section
                                    546(b) of the Bankruptcy Code, collectively, the
                                    “Permitted Prior Liens”). For the avoidance of doubt,
                                    any and all of the Prepetition Borrowers’ cash, whether
                                    existing as of the Petition Date or thereafter, wherever
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                                   located, constitutes Cash Collateral of the Prepetition
                                   Secured Parties within the meaning of section 363(a) of the
                                   Bankruptcy Code (including, without limitation, cash or
                                   cash equivalents generated by the sale or other disposition
                                   of Prepetition Collateral or on deposit or maintained by the
                                   Prepetition Borrowers in any account or accounts over
                                   which the Prepetition Secured Parties have control, and all
                                   income, proceeds, products, rents, or profits of any
                                   Prepetition Collateral).
                                   Validity of Prepetition Secured Liens and Prepetition
                                   Secured Obligations. The Prepetition Secured Liens are
                                   (a) valid, binding, perfected, duly recorded, and
                                   enforceable liens on, and security interests in, the
                                   Prepetition Collateral, and (b) not subject to, pursuant to
                                   the Bankruptcy Code or other applicable law (foreign or
                                   domestic),     avoidance,     disallowance,      reduction,
                                   recharacterization, recovery, subordination (whether
                                   equitable, contractual, or otherwise), attachment, set-off,
                                   offset, recoupment, counterclaim, defense, “claim” (as
                                   defined in the Bankruptcy Code), impairment, or any other
                                   challenge of any kind by any person or entity.
                                   Adequate Protection for the Prepetition Secured Parties.
                                   The Prepetition Secured Parties are entitled to receive
                                   adequate protection pursuant to sections 361, 362, and 363
                                   of the Bankruptcy Code for any diminution in the value,
                                   from and after the Petition Date, of their interests in the
                                   Prepetition Collateral (including the Cash Collateral) to the
                                   fullest extent permitted under the Bankruptcy Code (each
                                   such diminution value, a “Diminution in Value”).


             Challenge Period      The admissions and stipulations set forth in Paragraph C of       Proposed Interim
                                   the Interim Order (collectively, the “Prepetition Lien and        Order at ¶ 9.
             Local Rule
                                   Claim Matters”) are and shall be binding on the
             4001-2(a)(i)(Q)
                                   Prepetition Borrowers, their estates, and any successors
                                   thereto, any subsequent trustee (including any chapter 7
                                   trustee), responsible person, examiner with expanded
                                   powers, any other estate representative, and all parties-in-
                                   interest and all of their successors-in-interest and assigns,
                                   including, without limitation, the Committee, if any,
                                   unless, and solely to the extent that, a party-in-interest with
                                   standing and requisite authority (i) has timely filed the
                                   appropriate pleadings, and timely commenced the
                                   appropriate proceeding required under the Bankruptcy
                                   Code and Bankruptcy Rules, including, without limitation,
                                   as required pursuant to Part VII of the Bankruptcy Rules
                                   challenging the Prepetition Lien and Claim Matters (each
                                   such proceeding or appropriate pleading commencing a
                                   proceeding or other contested matter, a “Challenge”)
                                   within 75 days from entry of the Interim Order (the
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                                   “Challenge Deadline”), as such date may be extended in
                                   writing from time to time in the reasonable discretion of
                                   the Prepetition Secured Parties or by this Court for good
                                   cause shown pursuant to an application filed by a party in
                                   interest prior to the expiration of the Challenge Deadline,
                                   and (ii) this Court enters judgment in favor of the plaintiff
                                   or movant in any such timely and properly commenced
                                   Challenge proceeding and any such judgment has become
                                   a final judgment that is not subject to any further review or
                                   appeal; provided, that the timely filing of a motion seeking
                                   standing to file a Challenge before the Challenge Deadline,
                                   which attaches a draft complaint setting forth the legal and
                                   factual bases of the proposed Challenge, shall toll the
                                   Challenge Deadline only as to the party that timely filed
                                   such standing motion until such motion is resolved or
                                   adjudicated by the Court. If a chapter 7 trustee or a chapter
                                   11 trustee is appointed or elected prior to the expiration of
                                   the Challenge Deadline, then the Challenge Deadline with
                                   respect to such trustee only, shall be the later of (i) the
                                   Challenge Deadline and (ii) the date that is twenty (20)
                                   calendar days after the date on which such trustee is
                                   appointed or elected.
             Waiver of 506(c)      Waiver of Right to Surcharge. Subject to entry of the Final       Proposed Interim
             surcharge             Order, in light of (a) the consent of the Prepetition Secured     Order at ¶ 7.
                                   Parties to the current payment of administrative expenses
             Local Rule
                                   of the Prepetition Borrowers’ estates in accordance with
             4001-2(a)(i)(V)
                                   the Budget, (b) the agreement of the Prepetition Secured
                                   Parties to permit the Prepetition Secured Liens, the
                                   Adequate Protection Liens, and Section 507(b) Claims to
                                   be subordinated to the Carve-Out to the extent related to
                                   the Prepetition Borrowers’ proportionate share of the
                                   Carve-Out, and (c) the agreement of the Prepetition
                                   Secured Parties to permit the use of Cash Collateral for
                                   payments made in accordance with the Budget as it related
                                   to the Prepetition Borrowers only, the Prepetition Secured
                                   Parties are, subject to entry of the Final Order, entitled to a
                                   waiver of (i) the provisions of section 506(c) of the
                                   Bankruptcy Code and (ii) any “equities of the case” claims
                                   or other claims under sections 105(a) or 552(b) of the
                                   Bankruptcy Code. Upon entry of the Final Order, no costs
                                   or expenses of administration or other charge, lien,
                                   assessment, or claim incurred at any time (including,
                                   without limitation, any expenses set forth in the Budget) by
                                   any Prepetition Borrower or any other person or entity
                                   shall be imposed or charged against any or all of the
                                   Postpetition Collateral, the Prepetition Collateral, and the
                                   Prepetition Secured Parties or their claims or recoveries
                                   under the Bankruptcy Code, including sections 506(c) or
                                   552(b) thereof, otherwise, and the Prepetition Borrowers,
                                   on behalf of their estates, waive any such rights.

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             Waiver of “equities of     See “Waiver of 506(c) surcharge” above.               Proposed Interim
             the case” doctrine                                                               Order at ¶ 7.
             Local Rule
             4001-2(a)(i)(W)
             Waiver of Marshalling      N/A.                                                  N/A
             Local Rule
             4001-2(a)(i)(X)


                                                     BASIS FOR RELIEF

         I.         The Prepetition Borrowers’ Use of Cash Collateral and Prepetition Collateral Is
                    Necessary

                               12.    Section 363(c)(2) of the Bankruptcy Code provides that a debtor may not

         use cash collateral unless “(A) each entity that has an interest in such cash collateral consents; or

         (B) the court, after notice and hearing, authorizes such use, sale, or lease in accordance with the

         provisions of this section.” 11 U.S.C. § 363(c)(2). Further, section 363(e) of the Bankruptcy Code

         provides, in pertinent part, that “on request of an entity that has an interest in property . . . proposed

         to be used, sold, or leased, by the trustee, the court, with or without a hearing, shall prohibit or

         condition such use, sale, or lease as is necessary to provide adequate protection of such interest.”

         11 U.S.C. § 363(e).           Examples of adequate protection are provided in section 361 of the

         Bankruptcy Code and include, but are not limited to: (a) lump sum or periodic cash payments to

         the extent that such use will result in a decrease in value of such entity’s interest in the property;

         (b) provisions for an additional or replacement lien to the extent that the use of the property will

         cause a decrease in the value of such entity’s interest in the property; and (c) such other relief as

         will result in the realization by the entity of the indubitable equivalent of such entity’s interest in

         the property. 11 U.S.C. § 361.

                               13.    It is well-established that a bankruptcy court should, whenever possible,

         resolve issues in favor of allowing a debtor to continue its business as a going concern. Courts
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         have recognized that “[a] debtor, attempting to reorganize a business under Chapter 11, clearly has

         a compelling need to use ‘cash collateral’ in its effort to rebuild. Without the availability of cash

         to meet daily operating expenses . . . the congressional policy favoring rehabilitation over

         economic failure would be frustrated.” Chrysler Credit Corp. v. Ruggiere (In re George Ruggiere

         Chrysler-Plymouth, Inc.), 727 F.2d 1017, 1019 (11th Cir. 1984); see also N.L.R.B. v. Bildisco and

         Bildisco, 465 U.S. 513, 528 (1984) (“The fundamental purpose of reorganization is to prevent a

         debtor from going into liquidation, with an attendant loss of jobs and possible misuse of economic

         resources.”).

                          14.   Accordingly, courts regularly authorize the use of cash collateral to enhance

         or preserve the debtor’s going concern value. See, e.g., In re 495 Cent. Park Ave. Corp., 136 B.R.

         626, 631 (Bankr. S.D.N.Y. 1992) (“[T]here is no question that the property would be improved by

         the proposed renovations and that an increase in value will result. In effect, a substitution occurs

         in that the money spent for improvements will be transferred into value. This value will serve as

         adequate protection for [the creditor’s] secured claim.”).

                          15.   It is essential to the Debtors’ sale and chapter 11 efforts and the preservation

         of going concern value that they have sufficient funds to operate in the ordinary course and at a

         level that is on par or as close as possible to prepetition performance. Absent the use of Cash

         Collateral and Prepetition Collateral, the Prepetition Borrowers will not have sufficient working

         capital to: (a) make payments to employees, vendors, or publishers; (b) satisfy operating costs;

         and (c) fund the administrative costs of these chapter 11 cases. The ability to satisfy these expenses

         when due is essential to avoid immediate and irreparable harm to the Debtors’ estates. In the

         normal course of business, the Prepetition Borrowers use cash on hand and cash flow from

         operations and other sources to fund working capital and capital expenditures, and operate and


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         maintain their business. Absent immediate access, the Prepetition Borrowers will not have

         adequate unencumbered cash on hand to pay these critical expenses.

                        16.      The Prepetition Secured Parties assert that the cash received by the

         Prepetition Borrowers generated from the operation of their business in the ordinary course

         constitutes Cash Collateral and Prepetition Collateral. The Prepetition Borrowers’ use of the Cash

         Collateral and Prepetition Collateral is necessary to maintain and maximize the value of the

         Debtors’ assets during the pendency of these chapter 11 cases. To that end, the Prepetition

         Borrowers and the Prepetition Secured Parties have negotiated the Proposed Interim Order to

         provide the Prepetition Borrowers with the consensual use of Cash Collateral and Prepetition

         Collateral. Absent the use of Cash Collateral and Prepetition Collateral, the Prepetition Borrowers

         will be unable to operate their business in a manner necessary to maintain and maximize the value

         of their assets pending the anticipated sale process. Simply stated, without the use of the Cash

         Collateral and Prepetition Collateral as requested by this Motion, the Debtors will suffer immediate

         and irreparable harm, their business operations will cease, and the operational value of the business

         will not be realized.

         II.    The Proposed Adequate Protection Is Reasonable and Appropriate

                        17.      Courts have found a secured creditor adequately protected where either a

         sufficient equity cushion in the collateral exists to protect the secured creditor, or the level of the

         secured creditor’s collateral is not decreasing over time. In re Dynaco Corp., 162 B.R. 389, 394

         (Bankr. D. N.H. 1993) (secured creditor was adequately protected and debtor was authorized to

         use cash collateral where level of collateral was not declining). In re May, 169 B.R. 462 (Bankr.

         S.D. Ga. 1994) (equity cushion in property may provide creditor with adequate protection of its

         interest, sufficient to permit the debtor to use cash collateral). In re Southwest Assocs., 140 B.R.


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         360 (Bankr. S.D.N.Y. 1992) (same).         Even in those instances where its equity cushion is

         fluctuating, a secured creditor is adequately protected so long as an adequate cushion remains over

         and above its secured claim. Dynaco Corp., 162 B.R. at 394 (Bankr. D. N.H. 1993).

                        18.     In Swedeland, the Third Circuit pointedly noted that the purpose of adequate

         protection “is to insure that the creditor receives the value for which he bargained prebankruptcy.”

         In re Swedeland Dev. Grp., Inc., 16 F.3d at 564 (quoting In re O’Connor, 808 F.2d 1393, 1396

         (10th Cir. 1987)); see also Shaw Indus., Inc. v. First Nat’l Bank of Pa. (In re Shaw Indus., Inc.),

         300 B.R. 861, 865 (Bankr. W.D. Pa. 2003) (“The purpose of providing ‘adequate protection’ is to

         insure that a secured creditor receives in value essentially what he bargained for.”); In re Beker

         Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (noting that the application of adequate

         protection “is left to the vagaries of each case, but its focus is protection of the secured creditor

         from diminution in the value of its collateral during the reorganization process”) (citation omitted),

         rev’d on other grounds, 89 B.R. 336 (S.D.N.Y. 1988). The Third Circuit has held that adequacy,

         “depends directly on how effectively it compensates the secured creditor for loss of value” caused

         by the priming lien granted to the new lender. In re Swedeland Dev. Grp., Inc., 16 F.3d at 564

         (quoting In re Am. Mariner Inds., Inc., 734 F.2d 426, 432 (9th Cir. 1984)).

                        19.     Nevertheless, adequate protection must be determined on a case-by-case

         basis, in light of the particular facts and circumstances presented, the focus being that which is

         required to protect a secured creditor from diminution in the value of its interest in the particular

         collateral during the use period. See In re Ledgmere Land Corp.,116 B.R. 338, 343 (Bankr. D.

         Mass. 1990); Delbridge v. Production Credit Assoc. & Federal Land Bank, 104 B.R. 824, 827

         (E.D. Mich. 1989); In re Kain, 86 B.R. 506, 513 (Bankr. W.D. Mich. 1988); In re Beker Indus.

         Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986).


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                        20.     As more fully set forth in the Proposed Interim Order, as adequate

         protection for the use of Cash Collateral and Prepetition Collateral, the Prepetition Borrowers

         propose providing the Prepetition Secured Parties with, among other things: (a) perfected security

         interests, replacement liens, and superpriority administrative claims, upon all Prepetition

         Collateral and Postpetition Collateral, for any diminution in value of the Prepetition Collateral; (b)

         payment of certain reasonable and necessary pre and postpetition Agent Advisors’ fees and

         expenses incurred by the Prepetition Secured Parties; and (c) payment of certain reasonable and

         necessary pre and postpetition fees and expenses incurred by the Agent. The terms and conditions

         on which the Prepetition Borrowers may use Cash Collateral and Prepetition Collateral have been

         carefully designed to meet the dual goals of sections 361 and 363 of the Bankruptcy Code. If the

         Proposed Interim Order is entered, the Prepetition Borrowers will have working capital to operate

         their business and thus, maximize the value of the assets for the benefit of their stakeholders. At

         the same time, the Prepetition Secured Parties will be adequately protected in a manner that it has

         agreed to for consenting to Prepetition Borrowers’ use of Cash Collateral and Prepetition

         Collateral. Therefore, the Debtors respectfully submit that the use of Cash Collateral and

         Prepetition Collateral on the terms set forth in the attached Proposed Interim Order provides the

         Prepetition Secured Parties with adequate protection and is in the best interest of the Debtors, their

         estates, their creditors, and all parties in interest and therefore should be authorized by the Court.

         III.   The Scope of the Proposed Carve-Out Is Reasonable and Appropriate

                        21.     The adequate protections are subject to the Carve-Out. Without the Carve-

         Out, the Debtors and other parties in interest may be deprived of certain rights and powers because

         the services for which such professionals may be paid in these chapter 11 cases would be restricted.

         See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (observing that


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         courts insist on carve-outs for professionals representing parties in interest because “[a]bsent such

         protection, the collective rights and expectations of all parties-in-interest are sorely prejudiced”).

         The Carve-Out does not directly or indirectly deprive the Debtors’ estates or other parties in

         interest of possible rights and powers. Additionally, the Carve-Out protects against administrative

         insolvency during the course of these chapter 11 cases by ensuring that assets remain for payment

         of the Clerk of the Court, U.S. Trustee fees, and professional fees of the Debtors and any statutory

         committee.

         IV.    Interim Relief Should Be Granted

                        22.     Bankruptcy Rule 4001(b) permits a court to approve a debtor’s request for

         use of cash collateral during the 14-day period following the filing of a motion requesting

         authorization to use cash collateral, “only . . . as is necessary to avoid immediate and irreparable

         harm to the estate pending a final hearing.” Bankruptcy Rule 4001(b)(2). In examining requests

         for interim relief under this rule, courts apply the same business judgment standard applicable to

         other business decisions. See, e.g., In re Simasko Production Co., 47 B.R. 444, 449 (D. Co. 1985),

         47 B.R. at 449; see also In re Ames Dep’t Stores Inc., 115 B.R. 34, 38 (Bank S.D.N.Y. 1990) 115

         B.R. at 38. After the 14-day period, the request for use of cash collateral is not limited to those

         amounts necessary to prevent destruction of the debtor’s business. A debtor is entitled to use cash

         collateral that it believes prudent in the operation of its business. See, e.g., Simasko, 47 B.R. at

         449; Ames Dep’t Stores, 115 B.R. at 36.

                        23.     As set forth above, pending the Final Hearing, the Prepetition Borrowers

         require immediate access to Cash Collateral and Prepetition Collateral to satisfy the day-to-day

         needs of the Prepetition Borrowers’ business operations. Access to liquidity will address any

         concerns regarding the Debtors’ financial health and ability to continue operations in light of these


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         chapter 11 cases. The Prepetition Borrowers have an immediate need for liquidity to, among other

         things, maintain business relationships with their vendors and suppliers, pay payroll and certain

         benefits, and satisfy other essential working capital and operational needs, all of which are required

         to preserve and maintain the Debtors’ going concern value for the benefit of all parties in interest.

         In addition, the Budget establishes that the Prepetition Borrowers’ use of Cash Collateral and

         Prepetition Collateral will not prejudice the Prepetition Secured Parties.

         V.     The Automatic Stay Should Be Modified on a Limited Basis

                        24.     The relief requested herein contemplates a modification of the automatic

         stay solely to permit the Prepetition Secured Parties to deliver written notice by electronic mail

         stating that the Prepetition Secured Parties elect to commence the exercise of rights and remedies

         with respect of the Proposed Interim Order and the Prepetition Financing Documents, and under

         applicable bankruptcy and non-bankruptcy law, including, without limitation, in respect of its

         Prepetition Collateral and its Adequate Protection Liens. Stay modifications of this kind are

         ordinary and standard features for the use of cash collateral, and in the Debtors’ business judgment,

         are reasonable and fair under the circumstances.

                       BANKRUPTCY RULE 4001(a)(3) SHOULD BE WAIVED

                        25.     The Debtors request a waiver of the stay of the effectiveness of the order

         approving this Motion under Bankruptcy Rule 4001(a)(3). Bankruptcy Rule 4001(a)(3) provides,

         “[a]n order granting a motion for relief from an automatic stay made in accordance with Rule

         4001(a)(1) is stayed until the expiration of 14 days after entry of the order, unless the court orders

         otherwise.” As explained above and in the First Day Declaration, the use of Cash Collateral and

         Prepetition Collateral is essential to prevent irreparable damage to the Debtor’s operations.

         Accordingly, ample cause exists to justify the waiver of the fourteen-day stay imposed by

         Bankruptcy Rule 4001(a)(3), to the extent such stay applies.
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                                       REQUEST FOR FINAL HEARING

                        26.     Pursuant to Bankruptcy Rule 4001(b)(2), the Debtors request the Court to

         set a date for the Final Hearing.

                                    IMMEDIATE RELIEF IS NECESSARY

                        27.     Pursuant to Bankruptcy Rule 6003(b), any motion seeking to use property

         of the estate pursuant to section 363 of the Bankruptcy Code or to satisfy prepetition claims within

         twenty-one (21) days of the Petition Date requires the Debtors to demonstrate that such relief “is

         necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003. As described above,

         without access to Cash Collateral and Prepetition Collateral, the Prepetition Borrowers would be

         unable to operate their business and fund these chapter 11 cases.

                        28.     For this reason and those set forth above, the Debtors respectfully submit

         that Bankruptcy Rule 6003(b) has been satisfied, and the relief requested herein is necessary to

         avoid immediate and irreparable harm to the Debtors and their estates.

                         WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h)

                        29.     Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale,

         or lease of property other than cash collateral is stayed until the expiration of 14 days after entry

         of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). As provided herein,

         and to implement the foregoing successfully, the Debtors request that the Proposed Interim Order

         include a finding that the Debtors have established cause to exclude such relief from the 14-day

         stay period under Bankruptcy Rule 6004(h).

                        30.     For this reason and those set forth above, the Debtors submit that ample

         cause exists to justify a waiver of the 14-day stay imposed by Bankruptcy Rule 6004(h), to the

         extent applicable to the Proposed Interim Order.


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                                           RESERVATION OF RIGHTS

                         31.     Nothing in the Proposed Orders or this Motion: (a) is intended or shall be

         deemed to constitute an assumption of any agreement pursuant to section 365 of the Bankruptcy

         Code or an admission as to the validity of any claim against the Debtors and their estates; (b) shall

         impair, prejudice, waive, or otherwise affect the rights of the Debtors and their estates with respect

         to the validity, priority, or amount of any claim against the Debtors and their estates; or (c) shall

         be construed as a promise to pay a claim.

                                                       NOTICE

                         32.     Notice of this Motion has been provided to: (a) the Office of the United

         States Trustee for the District of Delaware; (b) the Debtors’ thirty (30) largest unsecured creditors;

         (c) counsel to the Agent; (e) the Internal Revenue Service; (f) the Securities and Exchange

         Commission; (g) the Office of the United States Attorney for the District of Delaware; (h) all other

         known parties with liens of record on assets of the Debtors as of the Petition Date; and (i) all parties

         that have filed a notice of appearance and request for service of papers pursuant to Bankruptcy

         Rule 2002. Notice of this Motion and any order entered hereon will be served in accordance with

         Local Rule 9013-1(m). In light of the nature of the relief requested herein, the Debtors submit that

         no other or further notice is necessary.



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                                                   CONCLUSION

                          WHEREFORE, the Debtors request entry of the Proposed Orders, granting the

         relief requested herein and such other and further relief as is just and proper.

             Dated: June 26, 2023

             YOUNG CONAWAY STARGATT &                          KRAMER LEVIN NAFTALIS &
             TAYLOR, LLP                                       FRANKEL LLP
                                                               P. Bradley O’Neill (pro hac vice pending)
             /s/ Joseph Barry                                  Caroline Gange (pro hac vice pending)
             Joseph Barry (Del. Bar No. 4221)                  1177 Avenue of the Americas
             Ryan M. Bartley (Del. Bar No. 4985)               New York, New York 10036
             S. Alexander Faris (Del. Bar No. 6278)            Telephone: (212) 715-9511
             Shella Borovinskaya (Del. Bar No. 6758)           Facsimile: (212) 715-8000
             Rodney Square                                     Email: boneill@kramerlevin.com
             1000 North King Street                                    cgange@kramerlevin.com
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             Proposed Co-Counsel to the Debtors and
             Debtors in Possession




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                                   EXHIBIT A
                             Proposed Interim Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Peer Street, Inc., et al.,1                                    Case No. 23-10815 (___)

                                                 Debtors.                   (Jointly Administered)


                             INTERIM ORDER (A) AUTHORIZING THE
               PREPETITION BORROWERS’ USE OF CASH COLLATERAL; (B) GRANTING
                  ADEQUATE PROTECTION TO THE PREPETITION SECURED PARTIES;
              (C) SCHEDULING A FINAL HEARING; AND (D) GRANTING RELATED RELIEF

                             Upon consideration of the motion (the “Motion”) of the above-captioned debtors

         and debtors-in-possession Peer Street, Inc., PS Funding, Inc. and PeerStreet Licensing, Inc.

         (collectively, the “Prepetition Borrowers,” and together with the other above-captioned debtors

         and debtors-in-possession, the “Debtors”)2 in the above-referenced chapter 11 cases (the

         “Chapter 11 Cases”), for entry of an interim order (this “Interim Order”) and a final order

         (“Final Order”), pursuant to sections 105, 361, 362, 363, 506(c), and 507 of title 11 of the United

         States Code, 11 U.S.C. §§ 101, et seq. (as amended, the “Bankruptcy Code”), Rules 2002, 4001,

         6004, and 9014 of the Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy

         Rules”), and Rule 4001-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

         States Bankruptcy Court for the District of Delaware (the “Local Rules”), seeking, inter alia:



         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
         2
               The use of Cash Collateral pursuant to this Interim Order is limited to Debtors Peer Street, Inc., PS Funding, Inc.
               and PeerStreet Licensing, Inc.
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                             a. authorization for Prepetition Borrowers, pursuant to sections 105, 361, 362,
                                363, and 507 of the Bankruptcy Code to use cash collateral, as such term is
                                defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”), and
                                all other Prepetition Collateral (as defined herein), in accordance with the
                                terms of this Interim Order and the Budget (as defined herein), as provided
                                herein;

                             b. to, subject to the Carve-Out (as defined herein) and any Permitted Prior
                                Liens (as defined herein), provide Adequate Protection (as defined herein)
                                of the liens and security interests (such liens and security interests,
                                the “Prepetition Secured Liens”) of the Prepetition Lenders (as defined
                                below) under that certain Credit Agreement, dated as of October 12, 2021
                                (and as the same may be further amended, restated, amended and restated,
                                supplemented or otherwise modified from time to time, the “Prepetition
                                Credit Agreement,” and together with all other related documents,
                                guarantees, and agreements, including, without limitation, security
                                agreements, mortgages, pledge agreements, assignments, financing
                                statements, and other agreements, documents, instruments or certificates
                                executed in connection with the Prepetition Credit Agreement, including,
                                but not limited to, those certain Promissory Notes dated October 12, 2021
                                and that certain Pledge and Security Agreement dated October 12, 2021,
                                collectively, the “Prepetition Financing Documents”), by and among the
                                Prepetition Borrowers, Magnetar Structuring Credit Fund, L.P., Magnetar
                                Longhorn Fund, LP, Purpose Alternative Credit Fund – F LLC, Purpose
                                Alternative Credit Fund – T LLC and Magnetar Lake Credit Fund, LLC
                                (such financial institutions in such capacities, the “Prepetition Lenders”),
                                and Magnetar Financial LLC, as agent (in such capacity, the “Agent,” and
                                together with the Prepetition Lenders, the “Prepetition Secured Parties”),
                                on the terms as more fully set forth in this Interim Order;

                             c. that this Court hold an interim hearing (the “Interim Hearing”) to consider
                                the relief sought in the Motion and entry of this Interim Order;

                             d. that this Court schedule a final hearing (the “Final Hearing”) to consider
                                entry of the Final Order granting the relief requested in the Motion on a final
                                basis; and

                             e. waiver of any applicable stay with respect to the effectiveness and
                                enforceability of this Interim Order or the Final Order (including a waiver
                                pursuant to Bankruptcy Rule 6004(h)).

         and the Interim Hearing having been held by this Court on June [___], 2023; and pursuant to

         Bankruptcy Rule 4001 and Local Rule 4001-2, due and sufficient notice of the Motion and the

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         relief sought at the Interim Hearing having been given under the particular circumstances by the

         Debtors; this Court having considered the Motion and all pleadings related thereto, including the

         record made by the Debtors at the Interim Hearing; and all objections, if any, to the relief requested

         in the Motion on an interim basis having been withdrawn, resolved, or overruled by this Court;

         and after due deliberation and consideration, and good and sufficient cause appearing therefor:

                           THIS COURT HEREBY FINDS AS FOLLOWS:

                           A. On June 26, 2023 (the “Petition Date”), each Debtor filed with this Court a

         voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are continuing

         to operate their respective businesses and manage their respective properties as debtors in

         possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                           B. No official committee of unsecured creditors (“Committee”), as provided for

         under section 1102 of the Bankruptcy Code, has been appointed in the Chapter 11 Cases.

                           C. In requesting the use of Cash Collateral, and in exchange for and as a material

         inducement to the consent of the Prepetition Secured Parties to the use of their Cash Collateral,

         subject to Paragraph 9 below, the Prepetition Borrowers, for themselves, their estates, and all

         representatives of such estates, acknowledge, admit, stipulate, and agree that:

                                  (1)    Prepetition Secured Obligations.       As of the Petition Date, the

         Prepetition Borrowers were indebted and liable, to the Prepetition Secured Parties under the

         Prepetition Financing Documents, for (a) an aggregate amount, including secured PIK interest at

         a rate of 6%, of $27,239,166.74 and (b) accrued and unpaid interest, fees (including, without

         limitation, Agency Fees (as defined herein)), and costs, expenses (including any attorneys’ and

         financial advisors’ fees), charges, indemnities, and all other obligations incurred or accrued with



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         respect to the foregoing pursuant to, and in accordance with, the Prepetition Financing Documents

         (collectively, the “Prepetition Secured Obligations.”)

                                 (2)     Liens and Collateral. Each Prepetition Borrower granted to the

         Agent, for the benefit of the Prepetition Secured Parties, to secure the Prepetition Secured

         Obligations, Prepetition Secured Liens on the Collateral (as defined in the Prepetition Credit

         Agreement), including assets of the Prepetition Borrowers as more fully described in the

         Prepetition Financing Documents, including all of the Prepetition Borrowers’ right, title, and

         interest in the Collateral (such collateral, collectively, the “Prepetition Collateral”), and, as of the

         Petition Date, such Prepetition Secured Liens were senior in priority over any and all other liens

         on the Prepetition Collateral, subject only to liens senior by operation of law or otherwise permitted

         by the Prepetition Financing Documents (solely to the extent any such permitted liens were valid,

         properly perfected, non-avoidable, and senior in priority to the Prepetition Secured Liens as of the

         Petition Date, or valid, non-avoidable, senior priority liens in existence as of the Petition Date that

         are perfected after the Petition Date as permitted by section 546(b) of the Bankruptcy Code,

         collectively, the “Permitted Prior Liens”). For the avoidance of doubt, any and all of the

         Prepetition Borrowers’ cash, whether existing as of the Petition Date or thereafter, wherever

         located, constitutes Cash Collateral of the Prepetition Secured Parties within the meaning of

         section 363(a) of the Bankruptcy Code (including, without limitation, cash or cash equivalents

         generated by the sale or other disposition of Prepetition Collateral or on deposit or maintained by

         the Prepetition Borrowers in any account or accounts over which the Prepetition Secured Parties

         have control, and all income, proceeds, products, rents, or profits of any Prepetition Collateral).

                                 (3)     Validity of Prepetition Secured Liens and Prepetition Secured

         Obligations. The Prepetition Secured Liens are (a) valid, binding, perfected, duly recorded, and
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         enforceable liens on, and security interests in, the Prepetition Collateral, and (b) not subject to,

         pursuant to the Bankruptcy Code or other applicable law (foreign or domestic), avoidance,

         disallowance, reduction, recharacterization, recovery, subordination (whether equitable,

         contractual, or otherwise), attachment, set-off, offset, recoupment, counterclaim, defense, “claim”

         (as defined in the Bankruptcy Code), impairment, or any other challenge of any kind by any person

         or entity.

                                 (4)    Adequate Protection for the Prepetition Secured Parties.           The

         Prepetition Secured Parties are entitled to receive adequate protection pursuant to sections 361,

         362, and 363 of the Bankruptcy Code for any diminution in the value, from and after the Petition

         Date, of their interests in the Prepetition Collateral (including the Cash Collateral) to the fullest

         extent permitted under the Bankruptcy Code (each such diminution value, a “Diminution in

         Value”).

                           D. The Prepetition Borrowers have an immediate and critical need to use Cash

         Collateral to, among other things, pay the costs and expenses associated with administering the

         Chapter 11 Cases of the Prepetition Borrowers, continue the orderly operation of their business,

         maximize and preserve their going concern value, make payroll and satisfy other working capital

         and general corporate purposes, in each case, in accordance with the Budget. Without access to

         the continued use of Cash Collateral to the extent authorized pursuant to this Interim Order, the

         Prepetition Borrowers and their estates would suffer immediate and irreparable harm. The

         Prepetition Borrowers do not have sufficient available sources of working capital and financing to

         operate their businesses or maintain their properties in the ordinary course of business without the

         authorized use of Cash Collateral. The Prepetition Borrowers require the continued use of Cash

         Collateral under the terms of this Interim Order to satisfy their postpetition liquidity needs.
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                           E. The Prepetition Secured Parties have consented to the Prepetition Borrowers’

         use of Cash Collateral solely on the terms and conditions set forth in this Interim Order.

         Accordingly, after considering all of their practical alternatives, the Prepetition Borrowers have

         concluded, in an exercise of their sound business judgment, that the consensual use of Cash

         Collateral represents the best source of funding currently available to the Prepetition Borrowers.

                           F. Furthermore, the Prepetition Secured Parties agree that the Adequate Protection

         granted to the Prepetition Secured Parties in this Interim Order is reasonable and calculated to

         protect the interests of the Prepetition Secured Parties.

                           G. Good cause has been shown for immediate entry of this Interim Order pursuant

         to Bankruptcy Rules 4001(b)(2) and (c)(2) and Local Rule 4001-2(b).               In particular, the

         authorization granted herein for the Prepetition Borrowers to continue using the Prepetition

         Collateral, including Cash Collateral, is necessary to avoid immediate and irreparable harm to the

         Debtors and their estates. Entry of this Interim Order is in the best interest of the Debtors, their

         estates, and their creditors. The terms of the Prepetition Borrowers’ continued use of the

         Prepetition Collateral (including Cash Collateral), the terms of Adequate Protection to be granted

         to the Prepetition Secured Parties hereunder, and the Cash Collateral arrangements described

         herein pursuant to this Interim Order are fair and reasonable under the circumstances, reflect the

         Debtors’ exercise of prudent business judgment consistent with their fiduciary duties, and are

         supported by reasonably equivalent value and fair consideration for the Prepetition Secured

         Parties’ consent thereto.

                           H. The Prepetition Borrowers and the Prepetition Secured Parties have negotiated

         the terms and conditions of the Prepetition Borrowers’ continued use of the Prepetition Collateral

         (including Cash Collateral) as contemplated by this Interim Order in good faith and at arm’s length,
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         and the Prepetition Secured Parties’ consent to the Prepetition Borrowers’ use of Cash Collateral

         shall be deemed to have been made in “good faith” within the meaning of section 364(e) of the

         Bankruptcy Code.

                           I. Based on the foregoing, and upon the record made before this Court at the

         Interim Hearing, and good and sufficient cause appearing therefor,

                           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:3

                           1.    Jurisdiction and Venue. Consideration of the Motion constitutes a “core-

         proceeding” as defined in 28 U.S.C. § 157(b)(2). This Court has jurisdiction over this proceeding

         and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334. Venue for

         the Chapter 11 Cases and the proceedings on the Motion is proper in this district pursuant to

         28 U.S.C. §§ 1408 and 1409.

                           2.    Notice. On the Petition Date, the Prepetition Borrowers filed the Motion

         with this Court and pursuant to Bankruptcy Rules 2002, 4001, and 9014, and the Local Bankruptcy

         Rules of this Court, the Debtors provided notice of the Motion and the Interim Hearing by

         electronic mail, facsimile, hand delivery, or overnight delivery to the following parties and/or to

         their counsel as indicated below: (a) the Office of the United States Trustee for this District (the

         “U.S. Trustee”); (b) the Debtors’ thirty (30) largest unsecured creditors on a consolidated basis;

         (c) counsel to the Agent; (d) all other known parties with liens of record on assets of the Debtors

         as of the Petition Date; (e) the local office for the Internal Revenue Service; and (f) any party

         having filed requests for notice in the Chapter 11 Cases (collectively, the “Notice Parties”). Given


         3
             Pursuant to Bankruptcy Rule 7052, findings of fact shall be construed as conclusions of law, and
             conclusions of law shall be construed as findings of fact.



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         the nature of the relief sought in the Motion, the form, scope, and timing of the foregoing notice

         was sufficient and adequate under the circumstances and complies with the Bankruptcy Code, the

         Bankruptcy Rules, the Local Rules, and any other applicable law, and no further notice relating to

         the Interim Hearing or Motion is necessary or required.

                           3.    The Budget.

                                 (a)      The use of proceeds of the Prepetition Collateral (including Cash

         Collateral), is subject to a 13-week operating budget for the Prepetition Borrowers setting forth

         the projected financial operations of the Debtors,4 substantially in the form of the initial budget

         annexed hereto as Exhibit A (the “Initial Budget,” and as may be amended and extended from

         time to time as set forth herein, the “Budget”) subject to the following permitted variances

         (collectively, the “Permitted Variances”):          unless waived in writing by the Agent (i) an

         unfavorable variance of no more than 20% with respect to cumulative cash receipts on a rolling

         four (4)-week basis, tested weekly based upon the prior Budget, provided that, in the event any

         cash receipts budgeted to be received in a cumulative period are not actually received during such

         period, such cash receipts shall be deemed, for purposes of testing, to have been received during

         such period if received within one (1)-calendar week after the end of such period, and (ii) an

         unfavorable variance of no more than 20% with respect to cumulative cash disbursements (other

         than restructuring professional fees and payments to the U.S. Trustee set forth in the Budget),

         tested weekly based upon the prior Budget, provided that, in any four (4)-week period that

         cumulative cash disbursements (other than restructuring professional fees and payments to the U.S.


         4
           While the Initial Budget, Budget and Updated Budget will reflect the cash sources and uses for all of the
         Debtors for illustrative and informational purposes, the use of Cash Collateral approved herein is limited
         to those portions of the Initial Budget, Budget and/or Updated Budget relating solely to the Prepetition
         Borrowers and not the other Debtors.

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         Trustee set forth in the Budget) are less than the budgeted amount for such period, the amount by

         which cumulative cash disbursements (other than restructuring professional fees and payments to

         the U.S. Trustee set forth in the Budget) are less may be carried forward and added to the

         subsequent period.

                                (b)    The Prepetition Borrowers shall provide the Prepetition Secured

         Parties with an updated budget not less than every four (4)-calendar weeks (the “Updated

         Budget”). As soon as practicable, and in any event within three (3) business days of receiving

         such Updated Budget, the Agent shall notify the Prepetition Borrowers in writing whether or not

         such Updated Budget is objectionable. If the Agent does not object to such Updated Budget in

         writing within such time, such Updated Budget shall be the Budget. If, within such time the Agent

         objects to such Updated Budget, the Budget that is then in effect shall remain in place.

                                (c)    The Prepetition Borrowers will provide the Prepetition Secured

         Parties with a variance report no more than one (1) calendar week after the entry of this Interim

         Order, and will provide a subsequent variance report every Friday thereafter (each such report, the

         “Variance Report”).

                           4.   Use of Prepetition Collateral (including Cash Collateral). Immediately

         upon entry of this Interim Order, the Prepetition Borrowers are authorized to use Cash Collateral

         to fund working capital requirements and operating and administrative expenses of the Prepetition

         Borrowers, including the fees and expenses of the Retained Professionals (as defined herein),

         during the Chapter 11 Cases of the Prepetition Borrowers. The Prepetition Borrowers are further

         authorized to use the Prepetition Collateral during the period from the Petition Date through and

         including the Termination Date (as defined herein) in accordance with the terms and conditions of

         this Interim Order.
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                           5.   Amendments. Each of the Prepetition Borrowers is expressly authorized

         and empowered to enter into amendments, supplements, extensions, or other modifications from

         time to time in any manner as to which Prepetition Borrowers and the Prepetition Secured Parties

         mutually agree in writing without further order of this Court; provided, that notice of any material

         modification or amendment shall be provided by the Prepetition Borrowers to the U.S. Trustee and

         counsel to the Committee, if any, which parties may object to such modification or amendment, in

         writing, within five (5) business days from the date of the transmittal of such notice (which, to the

         extent such contact information for such parties is known to the Prepetition Borrowers, shall be

         transmitted by fax or e-mail, and, if not known, by overnight mail); provided, further, that if such

         objection is timely provided, then such modification or amendment shall be permitted only

         pursuant to an order of this Court, the entry of which may be sought on an expedited basis.

                           6.   Carve-Out.

                                (a)     Generally. The Prepetition Secured Liens, the Adequate Protection

         Liens, and the Section 507(b) Claims (as defined herein) of the Prepetition Secured Parties, shall

         be subject to the payment in full, without duplication, of the following fees and expenses (the

         amounts set forth below, together with the limitations set forth therein, as well as any funds in the

         Professional Fee Reserve (as defined below), collectively, the “Carve-Out”) from, at the

         Prepetition Borrowers’ discretion, the Cash Collateral or proceeds resulting from liquidation of

         Prepetition Collateral or Postpetition Collateral:

                                        (i)     the fee and expense claims of the respective retained

         professionals of the Prepetition Borrowers and the Committee, if any, as to matters pertinent to the

         Prepetition Borrowers, that have been approved by this Court at any time during the Chapter 11

         Cases pursuant to sections 330 and 331 of the Bankruptcy Code including any interim approval as
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         set forth in any procedures approved by this Court relating to the interim approval of fees and

         expenses of the Retained Professionals (this Court approved professionals of the Prepetition

         Borrowers and any Committee are collectively referred to as the “Retained Professionals”), the

         reasonable expenses of members of the Committee, if any (the “Committee Member Expenses,”

         which shall not include legal fees and expenses of Committee members) which were incurred in

         connection with matters pertinent to the Prepetition Borrowers (A) on and after the Petition Date

         and before the Carve-Out Trigger Date (as defined herein), provided that the Carve-Out shall be

         reduced dollar-for-dollar by any payments of fees and expenses to the applicable Retained

         Professional, and (B) on and after the Carve-Out Trigger Date in an aggregate amount not

         exceeding $200,000.00 for all Retained Professionals, to the extent allowed at any time, whether

         by final order, interim order, procedural order, or otherwise. On the last business day of each

         week, the Prepetition Borrowers shall fund a professional fee reserve (the “Professional Fee

         Reserve”) in an amount equal to the professional fees for the Retained Professionals as set forth

         in the Budget for the week then ended that relates solely to the Prepetition Borrowers. All funds

         in the Professional Fee Reserve shall be used first to pay the Carve-Out (whether such fees are

         allowed on an interim or final basis) for allowed fees and expenses of the Retained Professionals,

         and all Retained Professionals shall have all professional fees and expenses paid from the

         Professional Fee Reserve prior to seeking payment from any other Cash Collateral. If, after

         payment in full of the Carve-Out for allowed fees and expenses of the Retained Professionals, the

         Professional Fee Reserve has not been reduced to zero, all remaining funds shall be returned to the




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         Agent on behalf of the Prepetition Secured Parties;5

                                          (ii)    the unpaid fees payable to the U.S. Trustee and Clerk of the

         Bankruptcy Court pursuant to section 1930 of Title 28 of the United States Code plus statutory

         interest, if any, imposed under 31 U.S.C. § 3717 that relate to the Prepetition Borrowers. There is

         no limitation on the obligations of the Prepetition Borrowers and their estates with respect to

         unpaid fees payable to the U.S. Trustee and Clerk of the Bankruptcy Court pursuant to section

         1930 of Title 28 of the United States Code.

                                 (b)      Carve-Out Trigger Date. As used herein, the term “Carve-Out

         Trigger Date” means the date on which the Prepetition Secured Parties provide written notice to

         the Prepetition Borrowers, the U.S. Trustee, and counsel to the Committee, if any, that the Carve-

         Out is invoked, which notice may be delivered only on or after the expiration of the EOD Notice

         Period (as defined herein) under this Interim Order or upon the Termination Date.

                           7.    Waiver of Right to Surcharge. Subject to entry of the Final Order, in light

         of (a) the consent of the Prepetition Secured Parties to the current payment of administrative

         expenses of the Prepetition Borrowers’ estates in accordance with the Budget, (b) the agreement

         of the Prepetition Secured Parties to permit the Prepetition Secured Liens, the Adequate Protection

         Liens, and Section 507(b) Claims to be subordinated to the Carve-Out to the extent related to the

         Prepetition Borrowers’ proportionate share of the Carve-Out, and (c) the agreement of the

         Prepetition Secured Parties to permit the use of Cash Collateral for payments made in accordance

         with the Budget as it related to the Prepetition Borrowers only, the Prepetition Secured Parties are,



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           For the avoidance of doubt, the use of the Prepetition Secured Parties’ Cash Collateral to fund and pay
         Retained Professionals shall be limited solely to the fees and expenses of such Retained Professionals that
         relate directly to the Prepetition Borrowers and no other debtors in these Chapter 11 Cases.

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         subject to entry of the Final Order, entitled to a waiver of (i) the provisions of section 506(c) of

         the Bankruptcy Code and (ii) any “equities of the case” claims or other claims under sections

         105(a) or 552(b) of the Bankruptcy Code. Upon entry of the Final Order, no costs or expenses of

         administration or other charge, lien, assessment, or claim incurred at any time (including, without

         limitation, any expenses set forth in the Budget) by any Prepetition Borrower or any other person

         or entity shall be imposed or charged against any or all of the Postpetition Collateral, the

         Prepetition Collateral, and the Prepetition Secured Parties or their claims or recoveries under the

         Bankruptcy Code, including sections 506(c) or 552(b) thereof, otherwise, and the Prepetition

         Borrowers, on behalf of their estates, waive any such rights.

                           8.    Automatic Perfection.

                                 (a)     The Adequate Protection Liens granted pursuant to this Interim

         Order to the Prepetition Secured Parties shall be valid, enforceable, and perfected by operation of

         law upon entry of this Interim Order by this Court without any further action by any party. The

         Prepetition Secured Parties in respect of the Adequate Protection Liens shall not be required to

         enter into or to obtain any control agreements, landlord waivers (unless required by law or

         contract), mortgagee waivers, bailee waivers, or warehouseman waivers or to give, file, or record

         any UCC-1 financing statements, mortgages, deeds of trust, leasehold mortgages, notices to

         account debtors or other third parties, notices of lien or similar instruments in any jurisdiction

         (including filings with the United States Patent and Trademark Office, the United States Copyright

         Office, or any similar agency in respect of trademarks, copyrights, trade names, or patents with

         respect to intellectual property) (collectively, the “Perfection Documents”), or obtain consents

         from any licensor or similarly situated party in interest, or take any other action to validate, record,

         or perfect the Adequate Protection Liens granted under this Interim Order and approved hereby,
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         all of which are automatically and immediately perfected by the entry of this Interim Order. If the

         Prepetition Secured Parties, in their reasonable discretion, choose to obtain, enter into, give, record,

         or file any Perfection Documents, (x) all such Perfection Documents shall be deemed to have been

         obtained, entered into, given, recorded, or filed, as the case may be, as of the Petition Date, (y) no

         defect in any such act shall affect or impair the validity, perfection, priority, or enforceability of

         the Adequate Protection Liens, and (z) such liens shall have the relative priority set forth herein

         notwithstanding the timing of filing of any such Perfection Documents. In lieu of optional

         recording or filing any Perfection Documents, the Agent and the Prepetition Secured Parties may,

         in each of their reasonable discretion, choose to record or file a true and complete copy of this

         Interim Order in any place that any Perfection Document would or could be recorded or filed

         (which may include a description of the collateral appropriate to be indicated in a recording or

         filing at such place of recording or filing), and such recording or filing by the Agent or the

         Prepetition Secured Parties shall have the same effect as if such Perfection Document had been

         filed or recorded as of the Petition Date.

                           9.    Effect of Stipulations on Third Parties.

                                 (a)     Generally. The admissions and stipulations set forth in Paragraph C

         above of this Interim Order (collectively, the “Prepetition Lien and Claim Matters”) are and

         shall be binding on the Prepetition Borrowers, their estates, and any successors thereto, any

         subsequent trustee (including any chapter 7 trustee), responsible person, examiner with expanded

         powers, any other estate representative, and all parties-in-interest and all of their successors-in-

         interest and assigns, including, without limitation, the Committee, if any, unless, and solely to the

         extent that, a party-in-interest with standing and requisite authority (i) has timely filed the

         appropriate pleadings, and timely commenced the appropriate proceeding required under the
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         Bankruptcy Code and Bankruptcy Rules, including, without limitation, as required pursuant to Part

         VII of the Bankruptcy Rules challenging the Prepetition Lien and Claim Matters (each such

         proceeding or appropriate pleading commencing a proceeding or other contested matter, a

         “Challenge”) within 75 days from entry of this Interim Order (the “Challenge Deadline”), as such

         date may be extended in writing from time to time in the reasonable discretion of the Prepetition

         Secured Parties or by this Court for good cause shown pursuant to an application filed by a party

         in interest prior to the expiration of the Challenge Deadline, and (ii) this Court enters judgment in

         favor of the plaintiff or movant in any such timely and properly commenced Challenge proceeding

         and any such judgment has become a final judgment that is not subject to any further review or

         appeal; provided, that the timely filing of a motion seeking standing to file a Challenge before the

         Challenge Deadline, which attaches a draft complaint setting forth the legal and factual bases of

         the proposed Challenge, shall toll the Challenge Deadline only as to the party that timely filed such

         standing motion until such motion is resolved or adjudicated by the Court. If a chapter 7 trustee

         or a chapter 11 trustee is appointed or elected prior to the expiration of the Challenge Deadline,

         then the Challenge Deadline with respect to such trustee only, shall be the later of (i) the Challenge

         Deadline and (ii) the date that is twenty (20) calendar days after the date on which such trustee is

         appointed or elected.

                                 (b)    Binding Effect. To the extent any Prepetition Lien and Claim

         Matters are not subject to a Challenge timely and properly commenced by the Challenge Deadline,

         or to the extent any Challenge does not result in a final and non-appealable judgment or order of

         this Court that is inconsistent with the Prepetition Lien and Claim Matters, then, without further

         notice, motion, or application to, order of, or hearing before, this Court and without the need or

         requirement to file any proof of claim, the Prepetition Lien and Claim Matters shall pursuant to
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         this Interim Order become binding, conclusive and final on the Prepetition Borrowers, their estates,

         all creditors, any person, entity, or party-in-interest in the Chapter 11 Cases of the Prepetition

         Borrowers, and their successors and assigns, and in any successor case for all purposes and shall

         not be subject to challenge or objection by any party-in-interest, including, without limitation, a

         trustee, responsible individual, examiner with expanded powers or other representative of the

         Prepetition Borrowers’ estates. More specifically, as to (i) any parties in interest, including the

         Committee, if any, who fails to file a Challenge within the Challenge Deadline, or if any such

         Challenge is filed and overruled, or (ii) any and all Prepetition Lien and Claim Matters that are not

         expressly the subject of a timely Challenge: (A) any and all such Challenges by any party

         (including, without limitation, any Committee, any chapter 11 trustee, any examiner, or any other

         estate representative appointed in the Chapter 11 Cases of the Prepetition Borrowers, or any

         chapter 7 trustee, any examiner or any other estate representative appointed in any successor

         cases), shall be deemed to be forever waived and barred, and (B) all of the findings, Prepetition

         Borrowers’ stipulations and admissions hereunder with respect to the Prepetition Liens and Claim

         Matters, shall be of full force and effect and forever binding upon the Prepetition Borrowers’

         estates and all creditors, interest holders, and other parties in interest in the Chapter 11 Cases of

         the Prepetition Borrowers and any successor cases. Notwithstanding anything to the contrary

         herein, if any such proceeding is properly and timely commenced, the Prepetition Lien and Claim

         Matters shall nonetheless remain binding unless such Challenge is successful pursuant to an order

         or judgment that is final and no longer subject to appeal or further review.

                                (c)     No Standing. Nothing in this Interim Order vests or confers on any

         person (as defined in the Bankruptcy Code), including any Committee, standing or authority to

         pursue any claim or cause of action belonging to the Prepetition Borrowers and/or their estates,
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         including, without limitation, any Challenge with respect to the Prepetition Financing Documents,

         the Prepetition Secured Liens, and/or the Prepetition Secured Obligations.

                           10.   Limitation on Use of Proceeds. Notwithstanding anything in this Interim

         Order to the contrary, no portion or proceeds of the Prepetition Collateral, the Cash Collateral, or

         the Carve-Out, and no disbursements set forth in the Budget shall be used for the payment of

         professional fees, disbursements, costs, or expenses incurred in connection with: (a) objecting,

         contesting or raising any defense to the validity, perfection, priority, or enforceability of, or any

         amount due under, the Prepetition Financing Documents or any security interests, liens or claims

         granted under this Interim Order or the Prepetition Financing Documents to secure such amounts;

         (b) asserting any Challenges, claims, actions, or causes of action, including any Avoidance

         Actions, against any of the Prepetition Secured Parties or any of their respective agents, affiliates,

         subsidiaries, directors, officers, representatives, attorneys, or advisors; or (c) contesting the

         Prepetition Lien and Claim Matters; provided that no more than $25,000 in the aggregate of the

         proceeds of the Postpetition Collateral, Prepetition Collateral, the Cash Collateral, and the Carve-

         Out may be used by the Committee, if any, solely to investigate (but not prosecute or Challenge)

         Prepetition Lien and Claim Matters.

                           11.   Adequate Protection. The Prepetition Secured Parties agree, and this Court

         finds, that the adequate protection provided in this Interim Order (the “Adequate Protection”),

         including, without limitation, in this Paragraph 11, is reasonable and calculated to protect the

         interests of the Prepetition Secured Parties. Notwithstanding any other provision hereof, the grant

         of Adequate Protection to the Prepetition Secured Parties pursuant hereto is without prejudice to

         the right of the Prepetition Secured Parties to seek adequate protection or to seek modification of

         a grant of Adequate Protection provided in this Interim Order so as to provide different or
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         additional adequate protection, and without prejudice to the right of the Prepetition Borrowers or

         any other party in interest to contest any such request.

                                  (a)      Prepetition Secured Party Adequate Protection Liens. As adequate

         protection for the Prepetition Secured Parties for the Prepetition Secured Liens, the Agent, in

         accordance with sections 361 and 363(e) of the Bankruptcy Code, is hereby granted, for the benefit

         of the Prepetition Secured Parties, additional and replacement valid, binding, enforceable, non-

         avoidable, and perfected postpetition security interests and liens (the “Adequate Protection

         Liens”) upon any and all repaid Servicing Advances (as defined in the Prepetition Credit

         Agreement)6(collectively, the “Postpetition Collateral”), in each case to secure the Prepetition

         Secured Obligations against, without duplication, the aggregate Diminution in Value, if any,

         subsequent to the Petition Date, in the value of the Prepetition Collateral. The Adequate Protection

         Liens are subject and subordinate only to (A) the Carve-Out and (B) the Permitted Prior Liens.

         The Adequate Protection Liens shall not (x) be subject to any lien or security interest that is

         avoided and preserved for the benefit of the Prepetition Borrowers’ estates under section 551 of

         the Bankruptcy Code, (y) subject to any inter-company claim, whether secured or unsecured, of

         any Prepetition Borrower or any domestic or foreign subsidiary or affiliate of any Prepetition

         Borrower, or (z) hereafter be subordinated to or made pari passu with any other lien or security

         interest under sections 361 or 363 of the Bankruptcy Code or otherwise except as expressly

         provided in this Interim Order, including, without limitation, with respect to the Carve-Out and

         Permitted Prior Liens. The Adequate Protection Liens shall be enforceable against and binding


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             “Servicing Advances” are defined in the Prepetition Credit Agreement as “the right of any [of the Prepetition
             Borrowers] to payment, reimbursement or indemnity in respect of any advances made or funded by such
             [Prepetition Borrower] in respect of Mortgage Loans with respect to which such [Prepetition Borrower] owns the
             Servicing Rights, whether such advances are made for out of pocket expenses incurred by a servicer, taxes,
             delinquent payments of principal or interest or other purposes.”
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         upon the Prepetition Borrowers, their estates, and any successors thereto, including, without

         limitation, any trustee or other estate representative appointed in the Chapter 11 Cases of the

         Prepetition Borrowers, or any successor cases.

                                 (b)    Section 507(b) Claims. Notwithstanding the provision of Adequate

         Protection hereunder, the Prepetition Secured Parties and the Agent, for the benefit of the

         Prepetition Secured Parties, are hereby each granted an allowed administrative expense claim

         pursuant to section 507(b) of the Bankruptcy Code (each, a “Section 507(b) Claim”) with super-

         priority over all other administrative expenses and all other claims against the Prepetition

         Borrowers or their estates or any kind or nature whatsoever, but in all cases subject and subordinate

         to the Carve-Out and the Permitted Prior Liens. The Section 507(b) Claims shall be against each

         Prepetition Borrower on a joint and several basis, and shall be payable from and have recourse to

         all Prepetition Collateral.

                                 (c)    Adequate Protection Payments. The Prepetition Borrowers shall

         pay in cash (i) upon entry of this Interim Order, the reasonable and documented fees and expenses

         of the attorneys and advisors of the Agent (the “Agent Advisors”) arising under the Prepetition

         Financing Documents prior to the Petition Date and (ii) the reasonable and documented fees and

         expenses of the Agent Advisors arising under the Prepetition Financing Documents subsequent to

         the Petition Date, in all instances subject to the amounts allocated therefor in the Budget (payments

         under clauses (i) and (ii), collectively, the “Adequate Protection Payments”). The Agent

         Advisors shall not be required to file an application seeking compensation for services or

         reimbursement of expenses with this Court. The Agent Advisors seeking compensation for

         services or reimbursement of expenses under the Prepetition Financing Documents, this Interim

         Order or the Final Order shall transmit every two (2) weeks a reasonably detailed invoice (which
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         shall include the total number of hours billed by attorney or other professional but shall not be

         required to comply with any particular format, and may be in summary form only) to counsel to

         the Prepetition Borrowers, the U.S. Trustee, and the Committee, if any; provided that any such

         invoice may be reasonably redacted to protect from disclosure any confidential information or

         information otherwise subject to a protective privilege such as attorney-client privilege or attorney

         work-product privilege. The Prepetition Borrowers, U.S. Trustee, and the Committee, if any, shall

         have ten (10) days in which to raise an objection to the payment of any fees and expenses of such

         Agent Advisors. Upon the expiration of such ten (10) day period, the Prepetition Borrowers may

         pay any portion of such fees and expenses to which no objection has been interposed. To the

         extent any objection has been interposed and cannot be consensually resolved, the dispute will be

         scheduled for adjudication at the next regularly-scheduled omnibus hearing in the Chapter 11

         Cases. Any and all amounts paid by the Prepetition Borrowers under this Paragraph 11 are deemed

         permitted uses of Cash Collateral hereunder.

                                (d)     Agency Fees.      The Agent shall receive from the Prepetition

         Borrowers current cash payments of all reasonable and documented prepetition and postpetition

         fees, including agency fees and administrative fees, and out-of-pocket expenses incurred by and

         payable to the Agent under the Prepetition Financing Documents (the “Agency Fees”) as disclosed

         in the Budget.

                                (e)     Adequate Protection Reservation. The receipt by the Prepetition

         Secured Parties of the Adequate Protection provided herein shall not be deemed an admission that

         the interests of the Prepetition Secured Parties are adequately protected. Each of the Prepetition

         Borrowers shall be jointly and severally liable for the Adequate Protection provided for herein,



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         and any amendment or modification to the Adequate Protection shall require the prior written

         consent of the Prepetition Secured Parties.

                           12.   Modification of Automatic Stay. The automatic stay under section 362(a)

         of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms and

         provisions of this Interim Order, including, without limitation, to: (a) permit the Prepetition

         Borrowers to grant Adequate Protection as set forth herein; (b) permit the Prepetition Borrowers

         to perform such acts as reasonably requested by the Prepetition Secured Parties to assure the

         perfection and priority of the Adequate Protection Liens granted herein; and (c) authorize the

         Prepetition Borrowers to make, and the Agent to retain and apply, payments in accordance with

         the terms of this Interim Order.

                           13.   Events of Default. The Prepetition Borrowers’ right, and the right of any

         other representative of the estates, to use Cash Collateral under this Interim Order shall terminate

         (other than in respect of the Carve-Out), (i) following ten (10) business days’ notice (the “EOD

         Notice Period”) from the Prepetition Secured Parties of (a) the Debtors’ failure to meet or satisfy

         any Milestone (as defined herein), unless extended by agreement of the Prepetition Secured Parties

         or order of this Court, or (b) a final determination by this Court that a material violation or breach

         (other than by the Prepetition Secured Parties), of any of the provisions of this Interim Order has

         occurred; or (ii) automatically without further notice or court proceeding following that the

         occurrence of one or more of the following: (a) the appointment of a chapter 11 trustee or of an

         examiner with expanded powers in the Chapter 11 Case (having powers beyond those set forth in

         sections 1106(a)(3) and (4) of the Bankruptcy Code); (b) the conversion of the Chapter 11 Cases

         of the Prepetition Borrowers to cases under chapter 7 of the Bankruptcy Code; (c) the dismissal of

         the Chapter 11 Cases of the Prepetition Borrowers; (d) filing of a motion, application or other
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         pleading to obtain postpetition financing that has not been consented to by the Prepetition Secured

         Parties; (e) entry of an order or a judgment by this Court or any other court staying, reversing,

         vacating, amending, rescinding or otherwise modifying any of the terms of this Interim Order, or

         filing of a motion, application or other pleading by the Prepetition Borrowers seeking such entry,

         in each case without the consent of the Prepetition Secured Parties (each of the items in 13(i) and

         (ii), an “Event of Default,” collectively, the “Events of Default”).

                           14.   Termination of Use of Cash Collateral. Notwithstanding anything in this

         Interim Order to the contrary, the Prepetition Borrowers shall be permitted to use the Cash

         Collateral pursuant to this Interim Order through the date that is the earliest of: (a) an Event of

         Default following the applicable EOD Notice Period, if any; or (b) ninety (90) days after the date

         of consummation of a sale of substantially all of the Prepetition Borrowers’ assets; or (c) twenty-

         five (25) days following the occurrence of the effective date of any confirmed plan of

         reorganization or liquidation in the Chapter 11 Cases of the Prepetition Borrowers (the

         “Termination Date”).

                           15.   Prepetition Secured Parties Remedies. Upon the occurrence of an Event of

         Default, and following the EOD Notice Period, if any, in each case without further notice, motion

         or application to, order of, or hearing before, this Court, subject to the full funding of the Carve-

         Out and the then-budgeted and incurred administrative expenses of the Prepetition Borrowers’

         estates, the Prepetition Secured Parties are granted leave to, including without limitation, cease

         making financial accommodations to the Prepetition Borrowers, accelerate any or all of the

         Prepetition Secured Obligations, and declare such Prepetition Secured Obligations to be

         immediately due and payable in full, in cash. Upon the Termination Date, and after providing five

         (5) business days’ prior notice (the “Remedies Notice Period”) to this Court, the U.S. Trustee,
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         and counsel to the Committee, if any, the Prepetition Secured Parties shall be entitled to exercise

         all of its rights and remedies under this Interim Order and the Prepetition Financing Documents,

         including, without limitation, foreclose upon the Prepetition Collateral or Postpetition Collateral

         or otherwise enforce the Prepetition Secured Obligations, the Adequate Protection Liens, and any

         or all of the Prepetition Collateral, and/or to exercise any other default-related remedies under the

         Prepetition Financing Documents, this Interim Order, or applicable law in seeking to recover

         payment of the Prepetition Secured Obligations.

                           16.   Milestones. As a condition to the use of Cash Collateral, the Prepetition

         Borrowers shall comply with the milestones attached hereto as Exhibit B (the “Milestones”). For

         the avoidance of doubt, the failure of the Debtors to comply with any of the Milestones (a) shall

         constitute an Event of Default under this Interim Order, (b) subject to the expiration of the

         Remedies Notice Period, result in the automatic termination of the Debtors’ authority to use Cash

         Collateral under this Interim Order, and (c) permit the Prepetition Secured Parties, subject to the

         terms of this Interim Order, to exercise the rights and remedies provided for in this Interim Order.

                           17.   Successors and Assigns. This Interim Order shall be binding upon all

         parties in interest in the Chapter 11 Cases of the Prepetition Borrowers, including any subsequently

         appointed trustee, responsible individual, examiner with expanded powers, or other estate

         representative.

                           18.   Survival. The provisions of this Interim Order and any actions taken

         pursuant hereto shall survive the entry of any subsequent order (other than entry of any subsequent

         Final Order which shall supersede this Interim Order), and the rights, remedies, powers, privileges,

         liens and priorities of the Prepetition Secured Parties provided for in this Interim Order and any

         Prepetition Financing Document shall not be modified, altered or impaired in any manner without
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         their consent (which consent shall not be unreasonably withheld) by any order, including any order

         (a) confirming any plan of reorganization or liquidation in any of the Chapter 11 Cases of the

         Prepetition Borrowers, (b) converting any of the Chapter 11 Cases of the Prepetition Borrowers to

         a chapter 7 case, (c) dismissing any of the Chapter 11 Cases of the Prepetition Borrowers, or (d)

         any superseding cases under the Bankruptcy Code. The terms and provisions of this Interim Order

         as well as the Adequate Protection granted pursuant to this Interim Order shall continue in full

         force and effect notwithstanding the entry of any such order, and such rights, claims and liens shall

         maintain their priority as provided by this Interim Order and the Prepetition Financing Documents

         and to the maximum extent permitted by law until all of the Prepetition Secured Obligations are

         indefeasibly paid in full, in cash.

                           19.   Subsequent Reversal or Modification. If any or all of the provisions of this

         Interim Order are hereafter reversed, modified, vacated or stayed, that action will not affect (a) the

         validity of any obligation, indebtedness or liability under this Interim Order by the Prepetition

         Borrowers prior to the date of receipt of written notice to the Prepetition Secured Parties and Agent

         of the effective date of such action, or (b) the validity and enforceability of any lien, administrative

         expense, right, or priority authorized or created hereby or pursuant to this Interim Order, including,

         without limitation, the Prepetition Secured Obligations, the Prepetition Secured Liens, the

         Adequate Protection Liens, the Adequate Protection Payments and the Section 507(b) Claims.

                           20.   Order Governs. In the event of any conflict between the provisions of this

         Interim Order and the Motion, or any supporting documents, the provisions of this Interim Order

         shall control and govern to the extent of such conflicts.

                           21.   No Marshaling. Subject to entry of the Final Order, none of the Prepetition

         Secured Parties or Prepetition Collateral shall be subject to the doctrine of marshaling or any
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         similar doctrine or law of any jurisdiction requiring the recovery upon or application to any

         indebtedness of any collateral or proceeds in any particular order or action.

                           22.   Master Proof of Claim. The Prepetition Secured Parties will not be required

         to file proofs of claim in any of the Chapter 11 Cases of the Prepetition Borrowers or any successor

         cases, and the terms and provisions of this Interim Order shall be deemed to constitute a timely

         filed proof of claim against the applicable Prepetition Borrowers; provided, however, that the

         Agent (on behalf of itself and the other Prepetition Secured Parties) is hereby authorized in its

         reasonable discretion to file (and amend and/or supplement, as it sees fit) a master proof of claim

         for the claims of the Prepetition Secured Parties arising from the applicable Prepetition Financing

         Documents in accordance with any order entered by this Court in relation to the establishment of

         a bar date in the Chapter 11 Cases of the Prepetition Borrowers; provided further that nothing

         herein shall waive the right of any Prepetition Secured Party to file its own proofs of claim against

         the Prepetition Borrowers.

                           23.   Immediate Effect of Order.        This Interim Order shall take effect

         immediately upon execution hereof, and, notwithstanding anything to the contrary contained in

         Bankruptcy Rules, including Bankruptcy Rule 4001(a)(3), there shall be no stay of execution of

         effectiveness of this Order. All objections to the entry of this Interim Order have been withdrawn

         or overruled, and the Motion is approved on an interim basis on the terms and conditions set forth

         herein. The Prepetition Borrowers shall promptly mail copies of this Interim Order to the Notice

         Parties and to counsel to the Committee, if any.

                           24.   Final Hearing. The Final Hearing is scheduled for ____, 2023, at [__:__

         _].m. (prevailing Eastern Time) before this Court. Any objections by creditors or other parties in

         interest to any provisions of this Interim Order shall be deemed waived unless timely filed and
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         served in accordance with this Paragraph 24. The Debtors shall promptly serve a notice of entry

         of this Interim Order and the Final Hearing, together with a copy of this Interim Order, by first

         class mail, postage prepaid, facsimile, electronic mail or overnight mail upon the Notice Parties.

         The notice of the entry of this Interim Order and the Final Hearing shall state that objections to the

         entry of the Final Order shall be filed with this Court by no later than 4:00 p.m. (prevailing Eastern

         Time) on [_______ __], 2023 (the “Objection Deadline”), with copies to: (a) co-counsel for the

         Debtors, Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY

         10036, Attn: P. Bradley O’Neill and Young Conaway Stargatt & Taylor, LLP, 1000 North King

         Street, Wilmington, Delaware 19801, Attn: Joseph Barry, (b) counsel for the Agent; (c) the U.S.

         Trustee, J. Caleb Boggs Federal Building, 844 King Street, Suite 2207, Wilmington, DE 19801,

         Attn: Joseph F. Cudia; and (d) counsel to the Committee, if any.




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                                                EXHIBIT A

                                                  Budget




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Peer Street, Inc., et al.
Cash Collateral Budget - Magnetar Only
$000s
                                                                                                                                                                                                                                                       1              14                  1
                                                                                                                                                                                                                                                      13              20                 20


Week Number                                  1        2        3        4        5        6        7        8        9       10       11       12       13       14       15       16       17       18       19       20                         Weeks 1-13      Weeks 14-20           Total
                                         Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast                       Forecast        Forecast            Forecast
Week Ending                              06/25/23 07/02/23 07/09/23 07/16/23 07/23/23 07/30/23 08/06/23 08/13/23 08/20/23 08/27/23 09/03/23 09/10/23 09/17/23 09/24/23 10/01/23 10/08/23 10/15/23 10/22/23 10/29/23 11/05/23                        Total
Cash Receipts
 PeerStreet Spread                       $     47 $      47 $      47 $      47 $      47 $       47 $    47 $      47 $      47 $      47 $      47 $      47 $      47 $        31 $      15 $       - $     - $       - $       - $      -     $      607      $       46       $         654
 DocGen                                         5         5         5         5         5          5       5         5         5         5         5         5         5           5         5         5       5         5         5        5             61              33                  94
 Draw & Other Receipts                          1         1         1         1         1          1       1         1         1         1         1         1         1           1         1         -       -         -         -        -             14               2                  17
 Interest on Bank Balance                        -         -         -      220          -          -       -      176          -         -         -      175          -           -         -         -    224          -         -     142            572             366                 937
 Servicing Recoveries                         143       143       143       143       143      2,897     143       143       143       143       143       143       143       3,698     3,766     3,791        -         -         -        -         4,612          11,255              15,867
 Total Other Receipts                           -        50         -         -       400          -       -         -        93         -         -         -        34           -         -     1,030       6         -       125        -            577           1,161               1,738
Total Cash Receipts                      $    195 $     245 $     195 $     416 $     595 $    2,949 $   195 $     372 $     288 $     195 $     195 $     371 $     229 $     3,735 $   3,788 $   4,825 $   235 $       5 $     130 $    147     $    6,443      $   12,863       $      19,307
Operating Disbursements
 Total Payroll                                  -       (82)        -       (92)        -       (83)        -         -      (101)        -       (67)        -       (67)        -      (128)        -       (91)        -        -      (239)        (1,363)        (1,264)               (950)
 Rent & Occupancy                               -       (10)        -         -         -         -       (10)        -         -         -       (10)        -         -         -       (10)        -         -         -        -       (10)            (30)           (20)               (50)
 Insurance                                      -       (39)        -         -         -         -       (39)        -         -         -       (39)        -         -         -       (39)        -         -         -        -       (39)          (118)            (79)              (196)
 Servicing Advances                          (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)     (172)        -         -        -         -         (2,231)          (515)             (2,746)
 Vendors                                      (61)      (49)      (49)      (49)      (49)      (49)      (61)      (61)      (61)      (61)      (61)      (61)      (61)      (61)      (49)      (49)      (49)      (49)     (49)      (61)          (732)          (366)             (1,099)
Total Operating Disbursements            $   (233) $   (352) $   (220) $   (312) $   (220) $   (303) $   (282) $   (233) $   (334) $   (233) $   (349) $   (233) $   (300) $   (233) $   (397) $   (220) $   (140) $    (49) $   (49) $   (349)   $    (4,473)    $   (2,244)      $      (5,040)
Restructuring Disbursements
 Restructuring Fees                           (81)     (137)      (67)      (67)      (67)      (72)     (155)      (83)      (83)      (83)     (180)      (83)      (83)      (83)     (154)      (66)      (66)      (66)     (76)     (170)        (1,240)             (683)          (1,922)
 Post-Effective Date Wind-Down Costs            -         -         -         -         -         -         -         -         -         -         -         -         -         -         -         -         -         -        -      (227)             -              (227)            (227)
Total Restructuring Disbursements        $    (81) $   (137) $    (67) $    (67) $    (67) $    (72) $   (155) $    (83) $    (83) $    (83) $   (180) $    (83) $    (83) $    (83) $   (154) $    (66) $    (66) $    (66) $   (76) $   (397)   $    (1,240)    $        (910)   $      (2,149)
Net Cash Flow                            $   (118) $   (244) $    (91) $     37 $     309 $    2,574 $   (242) $    56 $     (129) $   (120) $   (334) $    55 $     (154) $   3,419 $   3,236 $   4,539 $    29 $     (110) $    5 $     (600)   $        730    $    9,710       $      12,117
Cash (Magnetar)
 Beginning Balance                       $   8,792 $   8,674 $   8,431 $   8,339 $   8,376 $ 8,685 $ 11,259 $ 11,017 $ 11,073 $ 10,945 $ 10,825 $ 10,491 $ 10,546 $ 10,392 $ 13,812 $ 17,048 $ 21,586 $ 21,615 $ 21,505 $ 21,509                  $    8,792      $   10,392               8,792
 (+) Net Cash Flow                            (118)     (244)      (91)       37       309    2,574     (242)      56     (129)    (120)    (334)      55     (154)   3,419    3,236    4,539       29     (110)       5     (600)                     1,600          10,517              12,117
Ending Unrestricted Cash Balance         $   8,674 $   8,431 $   8,339 $   8,376 $   8,685 $ 11,259 $ 11,017 $ 11,073 $ 10,945 $ 10,825 $ 10,491 $ 10,546 $ 10,392 $ 13,812 $ 17,048 $ 21,586 $ 21,615 $ 21,505 $ 21,509 $ 20,909                 $   10,392      $   20,909       $      20,909
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                                                         EXHIBIT B

                                                          Milestones
                 (i)     On the Petition Date, the Debtors shall have filed a motion seeking approval of the Debtors’
         use of Cash Collateral.

                 (ii)     Within three (3) days of the Petition Date, the Debtors shall have filed a motion (the “Bid
         Procedures Motion”) with the Bankruptcy Court to approve bid procedures to determine a winning bidder
         or bidders for the Debtors’ mortgage assets.

                 (iii)   Within three (3) days after the Petition Date, the Interim Order authorizing and approving
         the use of Cash Collateral and the transactions contemplated thereby on an interim basis, shall have been
         entered by the Bankruptcy Court.

                  (iv)   On or before thirty (30) days following the Petition Date, or the first business day thereafter
         that the Bankruptcy Court is available, an order approving the Bid Procedures Motion (the “Bid Procedures
         Order”) shall have been entered by the Bankruptcy Court.

                  (v)    On or before thirty (30) days following the Petition Date, or the first business day thereafter
         that the Bankruptcy Court is available, the Final Order (in form an substance acceptable to the Prepetition
         Secured Parties in their sole discretion) authorizing and approving the use of Cash Collateral and the
         transactions contemplated thereby on a final basis shall have been entered by the Bankruptcy Court.




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